, Case 18-50241 Doc19 Filed 05/17/18 Page 1 of 74

Fill in this information to identify your case and this filing:

=

rrephay i iaat adi {QUSECGED

Debtor 1

. bs
Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middte Name Last Name

 

United States Bankruptcy Court for the: Middle District of North Carolina

Case number IK ° 5024/ Wen k if this i
GCK | Is 1s an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

| Part 4: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

LJ No. Go to Part 2.
() Yes. Where is the property?

 

or, the property? Check all that apply. Do not deduct secured claims or exemptions. Put
Single-family home the amount of any secured claims on Schedule D:
Zs 7 Le Gy or H SC g Se Creditors Who Have Claims Secured by Property.
: - — Duplex or multi-unit building |
Street address, if available, or other description . ; |
OC) Condominium or cooperative Current value of the | Current value of the

 

C) Manufactured or mobile home entire property? portion you own?
) Land 5 S G joe $ S yi Jéd

C3 Investment property
uss hey Nok: Z 704d i Describe the nature of your ownership

L) Timeshare
City State ZIP Code Qo interest (such as fee simple, tenancy by
ther the entireties, or a lif estate), if known.

 

 

Who has an interest in the property? Check one.

du vy Pebtor 1 only
County . CJ Debtor 2 only

() Debtor 1 and Debtor 2 only QO Check if this is colnmuny property
(see instructions)

 

 

(] At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
Q) Single-family home the amount of any secured claims on Schedule D:.

 

 

 

 

 

 

 

4.2. __ gO Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description . . ’ vei
C1 Condominium or cooperative Current value of the Current value of the
(J Manufactured or mobile home entire property? portion you own?
CJ tang $ |g
CL) Investment property :
: Describe the nature of your ownership
City State ZIP Code UI Timeshare _ interest (such as fee simple, tenancy by
QJ other ___.the entireties, or a life estate), if known.
Who has an interest in the property? Check one,
(J Debtor 1 only
County Q) Debtor 2 only
(J Debtor 1 and Debtor 2 only LJ Check if this is community property
() at teast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1

 
       

 
     
 

ase‘18-502
Debtor 1 unis
First Name Middle Name Last Name
1.3.

 

Street address, if available, or other description

 

 

City State

ZIP Code

 

County

2, Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that mumber Here. 0.0... ccc eee eee ee EEE ree DE ee HASH EOH EOL EEL ASSAD ERAS OER O EE >

Be Describe Your Vehicles

What is the property? Check ali that apply.
CQ) Single-family home

Q) Duplex or multi-unit building

LC) Condominium or cooperative

L) Manufactured or mobile home

CL) Land

C) Investment property

C] Timeshare

QC) other

 

Who has an interest in the property? Check one.

C) Debtor 4 only

CQ) Debtor 2 only

C) Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

Dec 19 Filed 05/17/18 Page 2 of f2- SOY |

Case number ¢ known,

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

CJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

$ 5 7, 702

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

C) No

OrYés

a1, Make fick
Model: ‘Seb r+
Year: 2000

Approximate mileage: 220, ode

Other information:

 

 

 

 

tf you own or have more than one, describe here:

a
3.2. Make: San
.
Model: Marine
Year: Zooeo

Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
EFbebtor 1 only

L) Debtor 2 only

C) Debtor 1 and Debtor 2 only

(J At jeast one of the debtors and another

(J Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Debtor 1 only
Debtor 2 only
(J Debtor 1 and Debtor 2 only
C) At least one of the debtors and another

( Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$_ Zade i$. Zood

Bo not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the | Current value of the |
entire property? ' portion you own?

s_£902 s_ (000°

 

page 2
ohejin 19 Filed 05/17/18 Page 3 of

 

 

 

 

 

Who has an interest in the property? Check one.

Q) At least one of the debtors and another

U) Check if this is community property (see

Who has an interest in the property? Check one.

V “| Gase 16-50
Debtor 1 l “a \ Uti 6
First Name Middle Name Last Name
3.3. Make:
Model: C) Debtor 1 only
CJ Debtor 2 only
Year:
©) Debtor 1 and Debtor 2 only
Approximate mileage:
Other information:
instructions)
3.4, Make:
Model: Q) Debtor 1 only
CQ bebtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

(J Debtor 1 and Debtor 2 only
C) At least one of the debtors and another

C) Check if this is community property (see
instructions)

Case number (i known).

P-s024!

Do not deduct secured claims or exemptions. Put
the amount of any securad claims on Schedule D:
Creditors Who Have Clains Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured clhims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No

L) Yes

41. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

Make:
Model:

4.2.

Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

Who has an interest in the property? Check one.
C) Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
CL) Debtor 1 only

U) Debtor 2 only

L) Debtor 1 and Debtor 2 only

(1 at least one of the debtors and another

L) Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

{
‘

Current value of the
entire property?

Current value of the
portion you own?

Do not deduct secured claims of exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
| portion you own?

Current value of the
entire property?

060

you have attached for Part 2. Write that number Here o.oo cece es esesneseseeesesssceseseseessssnersavensatarissatatririsitsnnatineesaretess > fi

Official Form 106A/B

Schedule A/B: Property

page 3

 
1 dare 19 Filed 05/17/18 Page 4 of

TA Case number (it known)

”
Ton 18-50
Debtor 1 ve Uns ev
First Name Middie Name Last Name

ee Describe Your Personal and Household {tems

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
Q No po
(ad Yes. Describe......... |

{

- veri .

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections: electronic devices including cell phones, cameras, media players, games

tL No eo ol

(¥- 5024

Cutrent value of the
portion you own?

Do hot deduct secured claims
or exemptions.

2G a>

 

(tVes. Describe..........

Te huts ton

$ L5SO-00

 

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, cain, or baseball card collections; other collections, memorabilia, collectibles
«<I No

 

CI Yes. Describe..........

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
a No

 

LJ Yes. Describe..........

 

 

 

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No Leone cen

: a

 

C) Yes. Describe..........

ema oon arte c

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

(J No —

 

 

leat Yes. Describe.......... : - Every day Cc t ath cS

 

 

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

 

i

CJ Yes. Describe.......... i

foe

 

 

13.Non-farm animals
Examples: Dogs, cats, birds, horses

 

Q) Yes. Describe..........,

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

Kio

Q) Yes. Give specific _—
information. ............. |

 

 

 

15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached _
for Part 3, Write that mumber Here ooo... scsssssccsossesesssseecasssesssseeasssssusnsceensseesanaecsunscsunseequeeennrarecnmieseetssnsssevetsanestssnes >

Official Form 106A/B Schedule A/B: Property

 

 

 

page 4

 
se 18-50241 as a Filed 05/17/18 Page 5 of
Debtor 1 Vi ca \ Al Unie Goode Case number (known). [y- 50274 \

 

 

First Name Middle Name Last Name

| Part 4: Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

FNo

DVS ce cessnsenesseessennnscennasnnsscenvastsnscennaseaseenvastesseenvasninssentaeenansesnsnsaetennsesiassestaseenseed Cash:

17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,

and other similar institutions. lf you have multiple accounts with the same institution, list each.

£1 No

DD Yes ose Institution name:

17.1, Checking account:

Current value of the
portion you own?

Do fet deduct secured claims _
or exemptions.

 

17.2, Checking account:

 

17.3. Savings account:

 

17.4. Savings account:

 

17.5. Certificates of deposit:

 

17.6. Other financial account:

 

17.7. Other financial account:

 

17.8. Other financial account:

 

17.9. Other financial account:

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

[arKio

OC) Yes. Institution or issuer name:

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

fio Name of entity: % of ownership:
C) Yes. Give specific 0% %
information about 0
1 0% %
9,
0% %

 

Official Form 106A/B Schedule A/B: Property

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Ge fF FF GF

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page 5
. ase 18-50241 ,Ddc19 Filed 05/17/18 Page 6 of
Debtor 1 Vive \ Tua ov lyn Case number (it known) [g- Sc7y|

é
\
First Name 0 Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

LNo

CJ Yes. Give specific  |ssuer name:
information about
thEM.....0. ee $

 

 

 

21, Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

ZI No

C) Yes. List each
account separately. Type of account: Institution name:

404(k) or similar plan:

 

Pension plan:

 

IRA:

Retirement account:

 

fo fF Ff F

Keogh:

 

Additional account:

wf Fh

Additional account:

 

22.Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

[Ko

7 Institution name or individual:

Electric:

 

Gas:

 

Heating oil:

 

Security deposit on rental unit:

 

Prepaid rent:

 

Telephone:

 

Water:

 

Rented furniture:

 

we Ff ff © fF fF Ff G&S

Other:

 

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
AI No

DD Yes woes Issuer name and description:

 

 

 

Official Form 106A/B Schedule A/B: Property | page 6
 
 
 
    

Untorv

Last Name

Debtor 1

 

First Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.

“n, §§ 530(b)(1), 529A(b), and 529(b)(1).
No

7

Case number (it known),

Se 48-50247e Doc 19 ~Filed 05/17/18 Page 7 of
pod n

(¥-sery)

 

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers

exercisable for your benefit

{a No

L) Yes. Give specific
information about them....

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

Jd No

 

CJ Yes. Give specific |
information about them.... |
u

 

 

27. Licenses, franchises, and other general intangibles

Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

[ao

C) Yes. Give specific
information about them....

eaten

Money or property owed to you?

28. Tax refunds owed to you

No

C) Yes. Give specific information
about them, including whether
you already filed the returns
and the tax years.

 

29. Family support

Federal:
State:

Local:

—

|
Current value of the
portion you own?
Do not deduct secured
Claims or exemptions.

Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Ano

 

L) Yes. Give specific information..............

 

 

 

 

30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,

Social Security benefits; unpaid loans you made to someone else

Alimony:
Maintenance:
Support:

Divorce settlement:

Property settlement:

wn 7

A

A

Soe

 

 

Cl) Yes. Give specific information...............

 

 

Official Form 106A/B Schedule A/B: Property
     

Casé 18-59@41 ,Doc’19 Filed 05/17/18 Page8o
Unie” Creo doy Case number (it known) ee go2 Yl

First Nama Midflle Name Last Name :

Debtor 1

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

ba No

C) Yes. Name the insurance company

. _ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.
No

QC) Yes. Give specific information..............
i $

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

No

CO) Yes. Describe each claim. oe

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
No _.
L) Yes. Describe each claim...

f
| |
| |

 

35. Any financial assets you did not already list

J No

I
Cl Yes. Give specific information............

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4, Write that number here oo... ccccccccccscesscesesesessossetevevssevessseseaseesasesssecesensesvessuassevmesaresesssessessnresutesareetensesevecavectane >

 

 

 

ae Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
(No. Go to Part 6.
L) Yes. Go to line 38.
Curfent value of the

portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned
No

CQ Yes. Describe.......

 

Lag

i. sms fet nanan nin sa ds is Mm

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
No a 7 |
Q Yes. Describe... « |
é

 

 

Official Form 106A/B Schedule A/B: Property page 8
Dog 19 Filed 05/17/18 Page 9 of.74
ys Case number (if known) / “ Se ZY I

  
   
 

Debtor 14 V,

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

ZI No
CJ Yes. Describe....... | :

i

Last Name

 

“ee
No

CO) Yes. Describe....... 5.

 

 

 

 

42. Interests in partnerships or joint ventures

[aNo

L) Yes. Describe.......

 

 

Name of entity: % of ownership:
% $
% $
% $

 

43. Customer lists, mailing lists, or other compilations

 

 

 

 

 

 

 

 

 

 

No
QC) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
CL) No 7
C) Yes. Describe........
| $
ee estates property you did not already list
No
L) Yes. Give specific 5
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here ooo. ccc cseeecsececnsnseresseneeeececnessnersenseeeciseterseretensntscgnsevsseeestiscssesesseeseensnantenereees >

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

CNS. Go to Part 7.

QC) Yes. Go to line 47.

Gurrent value of the
portion you own?
Do not deduct secured claims

 

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish |
oe
CD VES oes
$

 

 

 

Official Form 106A/B Schedule A/B: Property page 9
J Rae 18- iv Cpee Do , Filed 05/17/18 Page 10 1S -
Debtor 1 i rau) uni ov Case number (known)

 

50 2¢/

 

First Name Middle Name Last Name

43. Crops—either growing or harvested

CT No

 

Q) Yes. Give specific.
information. ............

Le semen ow

49. a and fishing equipment, implements, machinery, fixtures, and tools of trade
No

O ves... on co oes inne Winns Nees oe oe cs ar nn ee een

 

 

50. Farm and fishing supplies, chemicals, and feed

No

i
Lee nee

 

CD VS ccc

d
|
1
1
i

 

 

51. Any farm- and commercial fishing-related property you did not already list

YANo

 

C) Yes. Give specific
information. ............

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached

for Part 6. Write that MuMber Mere oo... cccsccccccssccssssssnessssssuessussvessesserssssesssucssucseesseasasesarsessssarsesnsenvenseseceresseeseterversvesuesees >

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

C} Yes. Give specific | |
i
|

 

information. ............

54. Add the dollar value of all of your entries from Part 7. Write that number Mere ooo. ccecesesscecesteeteesesneneene >

List the Totals of Each Part of this Form

 

 

 

55. Part 1: Total real estate, (me 200 ccc cccccsecsssssessssseessssvessosavscssveesassvessssustssteseraventessauessavietsnsssarsussrssecsssevcesiesstarnsvesussnveeen > s_ £7 (C°

56. Part 2: Total vehicles, line 5 $ $OOO-e o©8
57.Part 3: Total personal and household items, line 15 $ Y (2) oD

58. Part 4: Total financial assets, line 36 $
59. Part 5: Total business-related property, line 45 $
60. Part 6: Total farm- and fishing-related property, line 52 $
61. Part 7: Total other property not listed, line 54 + $_

62. Total personal property. Add lines 56 through 61. ..............0... $  f &4fe £2. 70° — Cory personal property total > 8 9 Ze 72

Cee taney tee nce eg pgnepeenricaentaemane

63. Total of all property on Schedule A/B. Add line 55 + line 62... ec cc ceccccccsecsesecseeesesecssenecsesseeesesessessessesesaseseseeeeees

Official Form 106A/B Schedule A/B: Property

 

 

$ 92. 7O ©

 

page 10

 

 

 
Case 18-5034 ooan Rtadl05/17/18 Page 11 of 74

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF NORTH CAROLINA

91C (09/13)

In the Matter of: )
) Case No. 1[8- Sozyil
) |
) DEBTOR'S CLAIM FOR
“) PROPERTY EXEMPTIONS
Debtor. )
I, _Yiv ‘ tin, the undersigned debtor, hereby claim the following property as exempt pursuant to 11 U.S.C.

§522(b)%S)(A), (B), and (C), the Laws of the State of North Carolina, and non-bankruptcy federal law.

C) Check if the debtor claims as exempt any amount of interest that exceeds $125,000 in value in property that the
debtor or a dependent of the debtor uses as a residence.

1. REAL OR PERSONAL PROPERTY USED BY DEBTOR OR DEBTOR'S DEPENDENT AS RESIDENCE OR
‘BURIAL PLOT. NCGS 1C-1601(a)(1).
Select appropriate exemption amount below:
O Total net value not to exceed $35,000.
O Total net value not to exceed $60,000. (Debtor is unmarried, 65 years of age or older, property was previously owned
by debtor as a tenant by the entireties or joint tenant with rights of survivorship, and former co-owner is deceased.)

 

 

Description of Market Mtg. Holder or Amt. Mtg. Net
Property & Address Value Lien Holder(s) or Lien Value
287 Eleano AVE £2700 Mr. Cooper SF, 000 AY, 200
(a) Total Net Value $ Yo ocd
Total Net Exemption 3
(b) Unused portion of exemption, not to exceed $5,000. $

(This amount, if any, may be carried forward and used to
claim an exemption in any property owned by the debtor.
(NCGS 1C-1601(a)(2)).

2. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522(b)(3)(B)
and the laws of the State of North Carolina pertaining to property held as tenants by the entirety.

Description of Market Mtg. Holder or Amt. Mtg. Net
Property & Address Value Lien Holder(s) or Lien Value

 

 

3. MOTOR VEHICLE. (NCGS 1C-1601(a)(3). Only one vehicle allowed under this paragraph with net value claimed as
exempt not to exceed $3,500.)

 

Year, Make, Market Net
Model of Aute Value Lien Holder(s) Amt, Lien Value
Zocd Buick Lasahre Zooo LOE sire s0r0& F002
(a) Statutory allowance $ 3,500
(b) Amount from 1(b) above to be used in this paragraph.

(A part or all of 1(b) may be used as needed.) $

Total Net Exemption $
Case 18-50241 Doci19 Filed 05/17/18 Page 12 of 74
91C (09/13)
4, TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL BOOKS. (NCGS 1C-1601(a)(5). Used by debtor or
debtor's dependent. Total net value of all items claimed as exempt not to exceed $2,000.) |

 

 

 

 

Market Net
Description Value Lien Holder(s) Amt. Lien Value
(a) Statutory allowance $ 2,000
(b) Amount from 1(b) above to be used in this paragraph.
(A part or all of 1 (b) may be used as needed.) $

Total Net Exemption §$

5. PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES NEEDED BY DEBTOR OR
DEBTOR'S DEPENDENTS. (NCGS 1C-1601(a)(4). Debtor's aggregate interest, not to exceed $5,000 in value for the
debtor plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents.)

Market Net
Description Value Lien Holder(s) Amt. Lien Value

Clothing & Personal
Kitchen Appliances
Stove

Refrigerator

Freezer

Washing Machine
Dryer

China

Silver

Jewelry

Living Room Furniture
Den Furniture
Bedroom Furniture
Dining Room Furniture
Lawn Furniture
Television

( )Stereo ( ) Radio
Musical Instruments

( )Piano ( ) Organ
Air Conditioner
Paintings & Art

Lawn Mower |
Yard Tools
Crops

Animals

Other ( )

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total Net Value §$

(a) Statutory allowance for debtor $ 5,000 |
(b) Statutory allowance for debtor's dependents: dependents
at $1,000 each (not to exceed $4,000 total for dependents) $

 
Case 18-50241 Doci9 Filed 05/17/18 Page 13 of 74

91C (09/13)

6.

8.

(c) Amount from 1(b) above to be used in this paragraph.
(A part or all of 1 (b) may be used as needed.) $

Total Net Exemption $
LIFE INSURANCE. (As provided in Article X, Section 5 of North Carolina Constitution.)

Name of Insurance Company Eovesters Finaneol Policy No. _&6 0239 g
Name of Insured Virg Uo Genco yr Policy Date [7 28-2017

Name of Beneficiary j 2s sfc a. Gender ft Sh Leeg Govckedin

PROFESSIONALLY PRESCRIBED HEALTH AIDS (FOR DEBTOR OR DEBTOR'S DEPENDENTS).
(NCGS 1C-1601(a)(7). No limit on value of number of items.)

 

 

 

Description:

 

 

DEBTOR'S RIGHT TO RECEIVE FOLLOWING COMPENSATION: (NCGS 1C-1601(a)(8). No limit on number

or amount.)

9.

10.

11.

12.

A. $ Compensation for personal injury to debtor or to person whom debtor was dependent for support.
B. $ Compensation for death of person of whom debtor was dependent for support.
Cc. $ Compensation from private disability policies or annuities.

INDIVIDUAL RETIREMENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN
TREATED IN THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE INTERNAL
REVENUE CODE (NCGS 1C-1601(a)(9). No limit on number or amount.) AND OTHER RETIREMENT FUNDS
DEFINED IN 11 U.S.C. § 522(b)(3)(c).

Detailed Description Value

 

 

COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE.
(NCGS 1C-1601(a)(10). Total net value not to exceed $25,000 and may not include any funds placed in a college saving
plan within the preceding 12 months not in the ordinary course of the debtor’s financial affairs. This exemption applies
only to the extent that the funds are for a child of the debtor and will actually be used for the child’s college or university
expenses.

Detailed Description Value

 

 

RETIREMENT BENEFITS UNDER A RETIREMENT PLAN OF OTHER STATE AND covebenmearan
UNITS OF OTHER STATES, TO THE EXTEND THOSE BENEFITS ARE EXEMPT UNDER THE LAWS OF
THAT STATE OR GOVERNMENTAL UNIT. (NCGS 1C-1601({a)(11). No limit on amount.)

Description:

 

 

 

ALIMONY, SUPPORT, SEPARATION MAINTENANCE AND CHILD SUPPORT. (NCGS 1C-1601(a)(12). No

limit on amount to the extent such payments are reasonably necessary for the support of Debtor or dependent of Debtor.)
Case 18-50241 Doc1i9 Filed 05/17/18 Page 14 of 74

91C (09/13)

13,

14.

15.

Description:

 

 

ANY OTHER REAL OR PERSONAL PROPERTY WHICH DEBTOR DESIRES TO CLAIM AS EXEMPT
THAT HAS NOT PREVIOUSLY BEEN CLAIMED ABOVE. (NCGS 1C-1601(a)(2). The amount claimed may not
exceed the remaining amount available under paragraph 1(b) which has not been used for other exemptions.)

 

 

 

 

Market Net
Description Value Lien Holder(s) Amt. Lien Value
(a) Total Net Value of property claimed in paragraph 13. $
(b) Total amount available from paragraph 1(b). $

(c) Less amounts from paragraph 1(b) which were
Used in the following paragraphs:

Paragraph 3(b) $

Paragraph 4(b) $

Paragraph 5(c) $

Net Balance Available from paragraph 1(b) $
Total Net Exemption $

OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

Aid to the Aged, Disabled and Families with Dependent Children, NCGS 108A-36
Aid to the Blind, NCGA 111-18
Yearly Allowance for Surviving Spouse, NCGS 30-15
North Carolina Local Government Employees Retirement Benefits, NCGS 128-31
North Carolina Teachers and State Employees Retirement Benefits, NCGS 135-9
Firemen’s Relief Fund Pensions, NCGS 58-86-90
Workers Compensation Benefits, NCGS 97-21
Unemployment Benefits, so long as not commingled and except for debts

for necessities purchased while unemployed, NCGS 96-17
Group Insurance Proceeds, NCGS 58-58-165
Partnership Property, except on a claim against the partnership, NCGS 59-55
Wages of a Debtor Necessary for Support of Family, NCGS 1-362
Other
TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT $

EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

Foreign Service Retirement and Disability Payments, 22 U.S.C. § 1104
Social Security Benefits, 42 U.S.C. § 407
Injury of Death Compensation Payments from War Risk Hazards, 42 U.S.C. § 601
Wages of Fishermen, Seamen and Apprentices, 46 U.S.C. § 601
Civil Service Retirement Benefits, 5 U.S.C, §§ 729, 2265
Longshoremen and Harbor Workers Compensation Act Death and Disability Benefits,
33 U.S.C. § 916
Railroad Retirement Act Annuities and Pensions 45 U.S.C. § 228(L)
Veterans Benefits, 45 U.S.C. § 352(E)
Special Pension Paid to Winners of Congressional Medal of Honor, 38 U.S.C. § 3101
Federal Homestead Lands, on Debts Contracted Before the Issuance of the Patent,
43 U.S.C, § 175
Other
TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT $
Case 18-50241 Doci9 Filed 05/17/18 Page 15 of 74
91C (09/13)

16. RECENT PURCHASES

The exemptions provided in NCGS 1C-1601(a)(2), (3), (4), and (5) are inapplicable with respect to tangible personal property
purchased by the debtor less than 90 days preceding the initiation of judgment collection proceedings or the filing of a petition
for bankruptcy, unless the purchase of the property is directly traceable to the liquidation or conversion of property that may
be exempt and no additional property was transferred into or used to acquire the replacement property.

List tangible personal property purchased by the debtor less than 90 days preceding the filing of the bankruptcy petition:

Market Net
Description Value Lien Holder(s) Amt. Lien Value

 

 

 

 

LT 2U5 4
DATE: LAS Yong) Turn Ch coded

Debtor

 
Case 18-50241 Doc19_ Filed 05/17/18

 
   

Fill in this information to identify your case:

Debtor 1 Viva Jun 18%u Coe dein

First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of North Carolina

Case number 15° 502 |

(if known)

 

Official Form 106D

 

Page 16 of 74

lek Check if this is an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property 12115

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

CJ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

4 Yes. Fill in all of the information below.

io List All Secured Claims

|

| 2, List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim

for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.

 

Column A

Do not deduct the

Column B Column.C

Value of bollateral Unsecured ©
that supports this portion

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

As much as possible, list the claims in alphabetical order according to the creditor's name. value ofcollateral.  clalm if any
[2.4] Pv Coop ey Describe the property that secures the claim: 5 $ $
Creditors Name
£750 Cypress Mord eye
Number Streetf ”
py ottrs I fu d ‘s ofthe date you file, the claim is: Check all that apply.
: ¥ ontingent
: baer / Ke FSO 7 a Unliquidated
City State ZIP Code WF Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
LDebtor 1 only QO) An agreement you made (such as mortgage or secured
| 2 Debtor 2 only car loan)
' [J Debtor 1 and Debtor 2 only Cl Statutory tien (such as tax lien, mechanic's lien)
(J Atleast one of the debtors and another CY Judgment lien from a lawsuit
: C) other (including a right to offset)
' () Check if this claim relates to a
: community debt
Date debt was incurred 2604 | Last 4 digits of account number ___ _
[29 Loar “Ae Describe the property that secures the claim: $ oOo. OO ¢ $
300 s Name
| 3006 wh Man SF Title Coase
i Number Street
As of the date you file, the claim is: Check all that apply.
) Contingent
Davi ile lA. Sesgl — O uniiquiaatea
State ZIP Code DO Disputed
ae the debt? Check one. Nature of fien. Check all that apply.
Debtor 1 only (An agreement you made (such as mortgage or secured |
OC) Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic’s lien)
LJ] At least one of the debtors and another C) Judgment lien from a lawsuit :
OC) other (including a right to offset)
Cl Check if this claim relates toa
community debt
Date debt was incurred Last 4 digits of account number
_Add the dollar value of your entries i in Column A on this page. Write that number here: _ |
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1of_

 
Debtor 1

First Name Middla Name

Vure) Case 18-50241 Doc19 Filed 05/17/18 Page 17 of 74

gt Supe. Grodan

Case number (known),
Last Name

I§- SOD4\

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Additional Page Column A ~ Column Column C
. ; . . Amount of claim —. Value offcollateral Unsecured
oy od ane any entries on this page, number them beginning with 2.3, followed Do not deduct the... that’supports this . portion
y 4.4, and So fo! value of collateral. Claim If any
SeCUV ity Fin Gate Describe the property that secures the claim: $ $
t Creditors Name
| Number Street RA “fe co “ “~
i
t As of the date you file, the claim is: Check all that apply.
: ° i
mr Ay WG JVC 27030 L Contingent
City 7 State ZIP Code ( unliquidated
OC) Disputed
| Who owes the debt? Check one. Nature of lien. Check all that apply.
Debtor 1 only (aAn agreement you made (such as mortgage or secured
| () Debtor 2 only car loan)
' () Debtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic's lien)
| () At least one of the debtors and another CQ) Judgment lien from a lawsuit
() Other (including a right to offset)
Cl) Check if this claim relates to a
community debt
Date debt was incurred : Last 4 digits of account number ___ _
|_| Describe the property that secures the claim: $ $
Creditors Name
Number Street
As of the date you file, the claim Is: Check all that apply.
C) Contingent
CV untiquidated
City State ZIP Code QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
O) debtor 1 only CJ an agreement you made (such as mortgage or secured
QO) Debtor 2 only car loan)
LJ Debtor 1 and Debtor 2 only () Statutory lien (such as tax lien, mechanic’s lien)
C) Atleast one of the debtors and another Q Judgment lien from a jawsuit
0 Check if this claim relates to a O other fincuding a right to offset
i community debt
Date debt was incurred Last 4 digits of accountnumber_
t
L_] Describe the property that secures the claim: $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code ) Unliquidated
C} Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
, QO) Debtor 1 only CJ An agreement you made (such as mortgage or secured |
© (2 Debtor 2 only car foan)
| ~~) Debtor 1 and Debtor 2 only q Statutory lien (such as tax lien, mechanic's lien)
| D2 Atleast one of the debtors and another CV Judgment lien from a lawsuit
QL] Other (including a right to offset)
' (2) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number ___ _
Add the dollar value of your entries in Column A on this page. Write that number here:
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: |
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page of
     

ase 18-50241 Doc19 Filed 05/17/18 Page 18 of 74
guna Goodudir Case number (known), 1§- Sot Cf \

Last Name

Debtor 1

 

 

First Name

} Part 2: | List Others to Be Notifled for a Debt That You Already Listed

 

| Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
’ agency Is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarty, if
: you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have jadditional persons to

be notified for any debts in Part 1, do not fill out or submit this page.

t

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber
Number Street
City State ZIP Code

| on which line in Part 1 did you enter the creditor? __
Name Last 4 digits of accountnumber_
Number Street
City State ZIP Code

[| On which line i in Part 1 did y you enter the creditor? ___
Name Last 4 digits of accountnumber_
Number Street
City State ZIP Code

| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber_
Number Street
City State ZIP Code

[| On which line in Part 1 did you enter the creditor?
Name Last4 digits ofaccountnumber
Number Street
City State ZIP Code

[| on which line i in Part: 1 | did y you uenter the e creditor? _
Name Last 4 digits of accountnumber_ |
Number Street |

 

 

City State ZIP Code

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page__of
Case 18-50241 Doci19 Filed 05/17/18 Page 19 of 74

UMMM ELC elena cele Lm: Cis

Debtor 1 7 | ; , Led ad \¥™ a

Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of North Carolina

Case number {S- SO zy \ ff Check if this is an

(If known} amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 4215

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

a List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you? :
, No. Go to Part 2. |
UL) ves.

|

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For !

each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and i

; nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.) |

Total claim Pert ~Nonpriority

 

 

 

 

 

 

 

 

 

ambunt... amount. 33) |
2.1 :
Last 4 digits of accountnumber = $ $ $
Priority Creditor’s Name
When was the debt Incurred?
Number Street :
As of the date you file, the claim is: Check all that apply.
: i
City State ZIP Cade O Contingent :
Q) unliquidated
Who incurred the debt? Check one. OQ) disputed
Q) Debtor 1 only
Q) Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C) Domestic support obligations
At least ane of the debtors and another QC] Taxes and certain other debts you owe the government
OC) Check if this claim is for a community debt CJ Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
Q) No QC) other. Specity
Cl ves

 

Last 4 digits of account number

— iS $ $

 

be J
: Priority Creditors Name
When was the debt incurred?

 

 

 

 

Number Street

As of the date you file, the claim is: Check all that apply.

O Contingent
City State ZIP Code Q) unliquidated
Who incurred the debt? Check one. QI Disputed :

U1 Debtor 1 only Type of PRIORITY unsecured claim:
CO) Debtor 2 only

C) Domestic support obligations
CQ) Debtor 1 and Debtor 2 only PP 9

OC At least one of the debtors and another () Taxes and certain other debts you owe the government
O) claims for death or personal injury while you were |
intoxicated i

Pa claim subject to offset? C) other. Specify
No : ‘

C) Check if this claim is for a community debt

C} Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of
  

Debtor 1

    

First Name Middle Name Last Name

Y~™

Case numer (if known)

 

Ea Your PRIORITY Unsecured Claims — Continuation Page

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After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

[

 

 

 

 

 

Total claim .-Prig

amgunt :

rity

 

 

 

 

 

 

 

 

 

 

 

 

Last4 digits ofaccountnumber_ ss  t—(‘ié«CS $ $ i
Priority Crediter’s Name :
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ail that apply.
QO Contingent
City State ZIP Gode O) unliquidated
Q Disputed
Who Incurred the debt? Check one.
L) Debtor 1 only Type of PRIORITY unsecured claim:
i
L Debtor 2 only CV Domestic support obligations
C) Debtor 1 and Debtor 2 only : .
O) Taxes and certain other debts you owe the government
() At least one of the debtors and another . i .
() claims for death or personal injury while you were
C) Check if this claim is for a community debt intoxicated
C) other. Specity
Is the claim subject to offset? :
No
O) ves /
Last4 digits ofaccountnumber —§§ =i —(—trsts—‘“—;CsésCSS: $ $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code OQ) unliquidated
Q) Disputed
Who incurred the debt? Check one. :
O) Debtor 4 only Type of PRIORITY unsecured claim:
U debtor 2 only C) Domestic support obligations
Q) Debtor 1 and Debtor 2 only . i
() Taxes and certain other debts you owe the government :
C) At least one of the debtors and another . _. . ‘
CJ Claims for death or personal injury while you were {
C] Check If this claim is for a community debt Intoxicated
C) other. Specify
nm subject to offset?
No :
C) Yes
L_] $ $ $

 

Priority Creditors Name

 

Number Street

 

 

City State ZIP Code

Who Incurred the debt? Check one.

C) Debtor 1 only

OC) debtor 2 only

C) Debtor 1 and Debtor 2 only

() at least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

LJ No
QO ves

Official Form 106E/F

 

Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O) Contingent
C) Unliquidated
C) Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were

 

intoxicated
Other. Specify

O Ooo

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page ___ of
 
    

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wv

 

Debtor 1

    

First Name Middle Name Last Name

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?

ETNo. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim |
bo] Last 4 digits of account number
Nonpriority Creditor's Name $
When was the debt incurred?
Number Street
City State ZIP Code As of the date you file, the claim is: Check all that apply.
|
O) Contingent
Who incurred the debt? Check one. C) unliquidated
CI Debtor 1 only Q Disputed
Q) Debtor 2 only
() Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(C) At least one of the debtors and another O Student loans
: O] Check if this claim is for a community debt QO Obligations arising out of a separation agreement or divorce
: that you did not report as priority claims
ls the claim subject to offset? ) debts to pension or profit-sharing plans, and other similar debts
UO No OQ) other. Specify
Q) Yes
2 Last 4 digits of account number $
Nonpriority Creditors Name When was the debt incurred?
Number Street
As of the date you file, the claim Is: Check all that apply. :
City State ZIP Code QO Contingent
Who incurred the debt? Check one. Q) unliquidated
QO) Debtor 1 only C) Disputed :
CJ Debtor 2 only ; |
Q pebtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim: |
J] At least one of the debtors and another (2 Student loans
oe QO Obligations arising out of a separation agreement or divorce i
Q) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? C) Debts to pension or profit-sharing plans, and other similar debts
oe Q) other. Specify
C) Yes
4.3 .
Last 4 digits of account number ___ _
Nongriority Creditors Name . $
When was the debt incurred?
Number Street |
is: k all .
ciy Sine FP Code As of the date you file, the claim is: Check all that apply
C1) Contingent |
Who incurred the debt? Check one. on ing |
Q | Unliquidated
Debtor 1 only q Disputed
CJ Debtor 2 only
C1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Atleast one of the debtors and another
CJ Student loans |
C) Cheek if this claim Is for a community debt L) Obligations arising out of a separation agreement or divorce |
that you did not report as priority claims
Is t laim ? :
N Subject to offset CJ Debts to pension or profit-sharing plans, and other similar debts :
lo g ;
Other. Speci :
O) ves pacity :
— el

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of
  
    

Debtor 1

Last Name

Lu) RG 8A 7S, iene Of Soe |

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total clalm

 

 

 

 

 

 

 

Last 4 digits of account number

 

 

 

 

 

 

 

 

 

 

pentane $
Nonpriority Creditors Name
When was the debt incurred?
Numbe Street
emer ree As of the date you file, the claim is: Check all that apply.
City State ZIP Code L] Contingent
OC) Unliquidated
Who incurred the debt? Check one. C) pisputed
Q) Debtor 1 only
C) cebtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only QO) Student toans
At least one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
Q) Check if this claim is for a community debt you did not report as priority claims .
LJ Debts to pension or profit-sharing pians, and other similar debts
Is the claim subject to offset? C) other. Specify /
(No
OC) Yes :
Last 4 digits of accountnumber ss $ :
Nonpriority Creditor’s Name
When was the debt incurred?
Numb Street
umver ree As of the date you file, the claim is: Check all that apply.
: :
: City State ZIP Code O Contingent
\ nliquidate
QO) unliquidated
: Who incurred the debt? Check one. © bdisputed
QC) Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C1 Student loans
Atleast one of the debtors and another QO) Obligations arising out of a separation agreement or divorce that
QQ) Check if this claim is for a community debt you did not report as priority ciaims -
C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? QO) other. Specify
No
OD yes
|_| 5
Last 4 digits ofaccountnumber

 

Nonpriority Creditors Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

Q) Debtor 1 only

Q) Debtor 2 only

C) Debtor 1 and Debtor 2 only

(CQ) atleast one of the debtors and another

Cl Check if this claim is for a community debt

Is the claim subject to offset?

[No
Cl Yes

Official Form 106E/F

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply. :

CQ) Contingent
C) Unliquidated
C) Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

QO) other. Specify.

Schedule E/F: Creditors Who Have Unsecured Claims page__of__
Debtor 4

18 Page 23

Vi vo) JORG oe: 50d Ay} 3. Filed OS/L7/ Case numiey) Uf known),

First Name

Middle Name

Last Name

SR FIZ Y |

 

Ss List Others to Be Notified About a Debt That You Already Listed

 

_ 5, Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

: example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed In Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

On which entry in Part 4 or Part 2 did you list the original creditor?

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonprierity Unsecured Claims
Last 4 digits of account number
City. Stale Ee Ode a ncn eget conti tet ttre
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CO) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ et
__ city State __2ZIP Code . oe
On which entry in Part 1 or Part 2 did you list the 6 original ¢ creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the ¢ original creditor?
Name
Line of (Check one): UL) Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _.
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpridrity Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Code
5 On which entry in Part 1 or Part 2 did you list the original greditor?
ame
Line of (Check one): LJ Part 1: Creditors with Priority Unsecured Claims
Number Street . | cde
Q) Part 2: Creditors with Nonpridrity Unsecured
Claims
Last 4 digits ofaccountnumber

City

State

Official Form 106E/F

ZIP Code

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

page __ of

 
    

Debtor 1

JERR LEO MAA ellen 05/17/48, , ans. 2 Of R- Soe

First Name Middle Name Last Name

Es Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claim

: . ligati Ga.
Total claims 02 Domestic support obligations a OD

from Part 1 6b. Taxes and certain other debts you owe the

government 6b. g IZ.0°- oo

6c. Claims for death or personal injury while you were
intoxicated 6c. ©

6d. Other, Add all other priority unsecured claims.
Write that amount here. 6d. +, ©

 

 

 

6e. Total. Add lines 6a through 6d. 6e.
§ [ZOO ¢ PP

 

 

Total claim
Total claims 6f. Student loans 6f. 5 CO
from Part2 0 Obligations arising out of a separation agreement
or divorce that you did not report as priority @Q
claims 6g. $
6h. Debts to pension or profit-sharing plans, and other a)
similar debts 6h. $
6i. Other. Add all other nonpriority unsecured claims. OQ
Write that amount here. 6. +s
6j. Total. Add lines 6f through 6i. Gj.
i 9 j ; &>

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__ of_
Case 18-50241 Doci19 Filed 05/17/18 Page 25 of 74

Fill in this information to identify your case:

Debtor ; Pig dur wo

First Name ™ Middle Nante Last Name

Debtor 2
(Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of North Carolina

Case number (&- Oz of (

(if known) U) Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/45

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
<INo. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B; Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

poy

2.1

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

oy Lian, State ZIP Code
2.3

 

 

Name

 

Number Street

 

Yc enmasennmsrercennnnana tte ZIP Code

Pe eenan eNO aS tke nt See Re WANED PES SARE ERRORS OE A I WS NRA RATE REMAN ANS Yh A ACROSS A Oh IN EE AR eh

2.4

 

Name

 

Number Street

 

City _ State ZIPCode _

 

2.5

 

Name

 

Number Street

 

City State ZIP Cade

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page Tof___

|
|
s Case 18-50241 Doci9 Filed 05/17/18 Page 26 of 74

. *
Debtor 1 if Junin Goedut Case number (i known) (& -S Zz of
First Name 0 Middle Name Last Name

a Additional Page if You Have More Contracts or Leases

 

 

Person or company with whom you have the contract or lease What the contract or lease is for |

 

 

 

Number Street

 

City State ZIP Code

Be te . ne cca ort oe eye bos : . ” se ws hottie ete ae Me pate be ee ween easement BOHRA gee ¢ Bate ae noe ee nee A ao ap Ear ana

 

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

cMSERISIM SS AER Riad MMR ONES GEST FAP Meta e cacRE Gg tude NCA NAN RENE AEA

 

 

Name

 

Number Street

 

City State ZIP Code

   

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page. oof
Case 18-50241 Doci19 Filed 05/17/18 Page 27 of 74

Fill in this information to identify your case:

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: Middle District of North Carolina

Case number (S- 5° Za¢ (

(If known)

 

la Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additiona! Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

4, Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
No

QC) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include :
Arizona, California, |\daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

C) No. Go to line 3.
C) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
L} No

{) Yes. in which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

‘3. In Column 4, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person

: shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1 |
QL) Schedule D, line
Name !
QO) Schedule E/F, line
Number Street Q) Schedule G, line
City von : ; State . ZIP Code \
3.2 |
C) Schedule D, line
Name
Q) Schedule E/F, line
Number Street ( Schedule G, line
City . : State ZIP Code oe ae _ 1
| '
3.3 |
U) Schedule D, line
Name 5
: C) Schedule E/F, line
Number Street () Schedule G, line
City a . : State ZIP Code

 

Official Form 106H Schedule H: Your Codebtors page iof____
y, a) fincn 2 18-50241 Doci9 Filed 05/17/18 Page 28 of 74
iv Undwe Goodin Case number imml &7 Wz SH

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 4
First Name Middle Name Last Name
| | Additional Page to List More Codebtors
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Fr Check all schedules that apply: |
(J Schedule D, line
Name
() Schedule E/F, line
Number Srest LJ Schedule G, line
City State ZIP Cade . |
{) Schedule D, line |
Name
C) Schedule E/F, line
|
Number Street QO) Schedule G, line
City State ZIP Code wad
Q) Schedule D, line
Name
QO) Schedule E/F, line
Number Sirest (} Schedule G, line
City State ZIP Code
C) Schedule D, line
: Name —_—_——_
(J Schedule E/F, line
Number Street C] Schedule G, line
bE] City | . State , ZIP Code _
QC) Schedule D, line
Name
C Schedule E/F, line
Number Sireat (J Schedule G, line
F] City ae , State ZIP Code oe co hot ce
5 (] Schedule D, tine
i ame
C) Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code . :
F-| (J Schedule D, line '
Name —_—_— i
Q) Schedule E/F, line
Number Sieei QC) Schedule G, line
BE) City . , : State ZIP Code
LJ Schedule D, line
Name _—_
O) Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code

 

 

Official Form 106H Schedule H: Your Codebtors page__sof__
Case 18-50241 Doc19_ Filed 05/17/18

Fill in this information to identify your case:

wal Unto’ Groduir

First Name J Middle Name Last Name
Debtor 2

(Spouse, if filing) First Name

Debtor 1

 

Middle Name Last Name

United States Bankruptcy Court for the: Middle District of North Carolina

Case number LE 5I2 ff

(If known)

 

 

Official Form 1061

 

Schedule I: Your Income

Page 29 of 74

Check if this is:

[YAn amended filing

LJ A supplement showing postpetition chapter 13
income as of the following date:

MM / DD/ YYYY

12/15

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additiona! pages, write your name and case number (if known). Answer every question.

[Part 1: | Describe Employment

1, Fillin your employment

Debtor 2 or non-filing spouse

 

information. Debtor 1

If you have more than one job,

attach a separate page with

information about additional Employment status TF Employed

employers. LJ Not employed

Include part-time, seasonal, or
self-employed work.

Occupation
Occupation may include student P

or homemaker, if it applies.

Employer's name

Employer’s address

CJ) Employed
CL) Not employed

Eun erat Sor x

hooded Finer Fmt

 

 

3200, C henry Klid

 

 

 

Number Street Number = Street
Gireensboro NC 2760S
City State ZIP Code City State ZIP Code

How long employed there? / 5 Vis
| Part 2: Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing

spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

For Debtor 1

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2.

' 3. Estimate and list monthly overtime pay. 3. +$

$_/ Zid S$

4

For Debtor 2 or
non-filing spouse

Oo

 

_ 4. Calculate gross income. Add line 2 + line 3. 4.

 

5 (754 $ _ |

 

 

 

 

Official Form 1061 Schedule |: Your Income

page 1
/ ' «, Case 18-50241 Doc19 Filed 05/17/18 Page 30 of 74
Debtor 1 ir

Junior Goodayy

First Name Middie Name Last Name

Copy lime 4 Here... ccc ccc ees ceesscscsssrscsesssnssersssseassssesenssesereessenanseres > 4.

5. List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund Joans
5e. Insurance

5f. Domestic support obligations

5g. Union dues

5h. Other deductions. Specify: fpeciaped Lowe

. 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + Sg + Sh.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.

"8, List all other Income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

5a.
5b.
5c.
5d.
5e.
5f.

5g.
5h.

8a.
8b.

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

8c.

8d.
8e.

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.
Specify:

 

8g. Pension or retirement income

8h. Other monthly income. Specify:

 

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh.

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11. State all other regular contributions to the expenses that you list in Schedule J.

8f.
8g.
8h.

9.

10.

Case number (if known),

For Debtor 1

 

For Debtor 2 or -

 

 

I§- 502.4 |

 

 

non-filing spouse

s/PGe

$ 3 48,08 $

$ e& $

5 OC $

$ 6 $

3 © $

$ © $

gs OO . $ i
+$ 2 $reO +5

$ 3 65,08 $

$ [3SS-F2 $

s_ © $

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s © $ |
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$ Zgdee $

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Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J

Specify:

 

12. Add the amount in the last column of line 10 to the amount In line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

13. oe expect an increase or decrease within the year after you file this form?
No.

 

WF $

12.

 

s 65572

 

 

Combined
monthly income

 

C) Yes. Explain:

 

 

 

Official Form 1061 Schedule |: Your Income

page 2
Case 18-50241 Doc1i9 Filed 05/17/18 Page 31 of 74

Fill in this information to identify your case:

Debtor 1 Vives Juma Gy 4 A

First Name ( Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: Middle District of North Carolina

Case number [S- SO ZL LY Cd Eheck if this is an

{tf known} amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Ea Summarize Your Assets

Your assets
Value|of what you own
"4. Schedule A/B: Property (Official Form 106A/B) >
1a. Copy line 55, Total real estate, from Schedule A/B......cccccccccccscsssssssssssssssnsnvsssusuiseesseeceescsceeeansnnsnenenmnmevsniniseseecessesssesses $ _ 84 fee

1b. Copy line 62, Total personal property, fram Schedule A/B oo... eect eeeees teen enenr ees erseeeeceerteteteeesetensnaeneceenennentes $_ 4 S00. ao

1c. Copy line 63, Total of all property on Schedule A/B uo... ccccsccc cc cece ceeeeeetee cent neeneenerne enter nee er eee enn eer tere ner nen ie reeerengneneanraes $ 92 Jee

er Summarize Your Liabilities

 

 

 

 

Your liabilities
Amount you owe
2. Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

 

 

 

 

 

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F 2... cece eet $
|
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F oo... cece etter + 5
' Your tota! liabilities $
*
era Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061) 2
Copy your combined monthly income from line 12 of Schedule [o.....ceec ccc et cc teee cere c tee cne ete ee teen teen een e eee EELS Eee eenEE $ é
. 5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule Joo... cece ccc cee reeete nner srerpenesreesesieeseesinesesiane eseseneeatees $

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
Case 18-50241 Doci19 Filed 05/17/18 Page 32 of 74

¢ 7 -
Debtor 1 He ou Jan ot Cece busy Case number crenown) (S- 5SOz ¢)

First Name | Middle Name Last Name

 

Ez Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, oar
QJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
[aves
7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

seta tips AREAS “S BeRASRE aN SSAA, OIE Rn a ame EI ene age Sabu ns de ae So cs ad A en a AEC CRA RN

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official i
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ SF e-

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F: i

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ o
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) s_ (ZOC ar’
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ oO
9d, Student loans. (Copy line 6f.) $ © |
9e. Obligations arising out of a separation agreement or divorce that you did not report as 5 2

priority claims. (Copy line 6g.)

0

Sf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$

 

9g. Total. Add lines 9a through 9f. 3s 260-62

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2
Case 18-50241 Doci19 Filed 05/17/18 Page 33 of 74

Fill in this information to identify your case:

 

Debtor 1 Lean Junior” (roodut~

First Namety Middle Name Last Name Check if this is:

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

LF An amended filing

LJ A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Middle District of North Carolina expenses as of the following date:

Case number [K- De Y MM DDS YYYY

(if known)

 

Official Form 106J
Schedule J: Your Expenses 12115

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

| Part 4: | Describe Your Household

1. Is this a joint case?

ETNo. Go to line 2.
CJ Yes. Does Debtor 2 live ina separate household?

LC) No
CJ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? Ro ; _
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and CJ Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... ee O
No
Do not state the dependents’ Qy
names. es
CL) No
Cl Yes
(3 No
OC) Yes
CL} No
QC) yes
QC] No
C) ves
3. Do your expenses include Ano

expenses of people other than Q
yourself and your dependents? Yes

ae Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule |: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and ( v | pe
any rent for the ground or lot. 4. $

ff not included in line 4:

4a. Real estate taxes 4a. § Oo
4b. Property, homeowner's, or renter’s insurance 4b. $ ©

4c. Home maintenance, repair, and upkeep expenses 4c. $ 6

4d. Homeowner's association or condominium dues 4d. $ ©

Official Form 106J Schedule J: Your Expenses page 1

 
iron
Debtor 1 = [oud Suniov Gsodusi ”
5. Additional mortgage payments for your residence, such as home equity loans 5.
6. Utilities:

6a. Electricity, heat, natural gas 6a.

6b. Water, sewer, garbage collection 6b.

6c. Telephone, cell phone, Internet, satellite, and cable services 6c.

6d. Other. Specify: 6d.
7. Food and housekeeping supplies 7.
8. Childcare and children’s education costs 8.
9. Clothing, laundry, and dry cleaning 9.
10. Personal care products and services 10.
11. Medical and dental expenses 11.
12. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments. 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13.
14. Charitable contributions and religious donations 14,
15. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a.

15b. Health insurance 15b.

15c. Vehicle insurance 15¢.

15d. Other insurance. Specify: 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16.
17. Installment or lease payments:

17a. Car payments for Vehicle 1 17a.

17b. Car payments for Vehicle 2 17b.

17c. Other. Specify: 17c.

17d. Other. Specify: 17d.
18. Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your Income (Official Form 106i). 18.
19. Other payments you make to support others who do not live with you.

Specify: 19.
20. Other real property expenses not included in lines 4 or § of this form or on Schedule /: Your income.

Official Form 106J

Case 18-50241 Doci19 Filed 05/17/18 Page 34 of 74

Case number (if knawn) LX 7” So = 4 \

 

 

 

 

 

 

 

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

 

20a.

20b.

20c.

20d.

20e.

Your exposes

$ ©

 

$ 5D, oo

0

$ >
$ _—<—S
$ >

wh fF
Case 18-50241 Doci19 Filed 05/17/18 Page 35 of 74

Debtor 1 Vcd June Goo dutty Case number (it knawn)

First Name [Maddie Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add jine 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule 1.

23b. Copy your monthly expenses from line 22¢ above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

No

Q) Yes. = Explain here:

Official Form 106J Schedule J: Your Expenses

21.

22a.

22b.

22¢.

23a.

236.

23c.

(¥- Sozy |

«©

 

 

 

$ / 75700

$ F732 OO

 

5 (CBI

-$ 775 2?

 

 

$ 5£G0:F2.

 

page 3

 

 
Case 18-50241 Doc1i9 Filed 05/17/18 Page 36 of 74

Fill in this information to identify your case:

Debtor 1 iv Jun or Gomde: ~~

First Name Middle Name Last Name Check if this is:

 

Debtor 2 ET An amended filing

(Spouse, if filing) First Name Middle Name Last Name
Qa supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Middle District of North Carolina expenses as of the following date:

Case number [K- Sot | MM / DDI YYYY

{if known)

 

 

Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2 1245

Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. /f Debtor 7 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is
needed, attach another sheet to this form, On the top of any additional pages, write your name and case number (if known). Answer every
question.

Coe Describe Your Household

1. Do you and Debtor 1 maintain separate households?

 

 

No. Do not complete this form.

 

 

 

 

 

 

 

 

C) Yes
2. Do you have dependents? CI No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 but list all CJ Yes. Fill out this information for Debtor 2: age with you?
other dependents of Debtor 2 each dependent...
regardless of whether listed as a () No
dependent of Debtor 1 on CO) ves
Schedule J. Q
No
Do not state the dependents’ oO
names. Yes
(J No
CJ Yes
Q) No
OQ} Yes
() No
L] Yes
3. Do your expenses include (No

expenses of people other than
yourself, your dependents, and O Yes
Debtor 17

ee Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. |

 

 

 

Include expenses paid for with non-cash government assistance if you know the value of L
such assistance and have included it on Schedule J: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and

any rent for the ground or lot. 4. $

If not included in line 4:

4a. Real estate taxes 4a. $

4b. Property, homeowner's, or renter’s insurance 4b. $

4c. Home maintenance, repair, and upkeep expenses 4c. 3

4d. Homeowner's association or condominium dues 4d. $

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 page 1
20.

Case 18-50241 Doc19 Filed 05/17/18 Page 37 of 74

Debtor 1 ead Jun (rt der

First Name 4 Middie Name Last Name

Additional mortgage payments for your residence, such as home equity loans
Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies

Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Gase number (known),

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule J, Your income (Official Form 106l).

Other payments you make to support others who do not live with you.
Specify:

 

Other rea! property expenses not included in lines 4 or 5 of this form or on Schedule f: Your Income.

20a. Mortgages on ather property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2

6a.
6b.
6c.

6d.

12,

13.

44.

15a.
18b.
15¢.

15d.

17a.
17b.
17c.

17d.

18.

19.

20a,
20b.
20c.
20d.
20e.

[¥-Sor¥ |

Your expres

$

fA FFA SF FH HF Wf HF HF

AF fT Ww

fan fF

 

3

page 2
Case 18-50241 Doci19 Filed 05/17/18 Page 38 of 74

. ¢ . {
Debtor 1 Ves ( \ Jun {6 v Geo by Case number (itknown) { S- S¢ = uf \

First Name WJ Middle Name Last Name

21. Other. Specify: 21. #3

 

22. Your monthly expenses. Add lines 5 through 21.
The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the
total expenses for Debtor 1 and Debtor 2. 22. 5

 

 

 

23. Line not used on this form.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

CN.

Ll Yes. Explain here:

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 page 3
Case 18-50241 Doci9 Filed 05/17/18 Page 39 of 74

Fill in this information to identify your case:

Debtor 1 ALT ud Jun i nr Goodustr x™

First Nama} Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of North Carolina

Case number | _ §oz 4 \

(If known)

 

C) Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12115

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571.

po Sign Below lA ) aE ww
{ a

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Kio

LJ Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119),

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x Wg) ic: Moan’

Signature afbebtor 7 Signature of Debtor 2

Date Date
MM/ DD / YYYY MM/ DD / YYYY

ji ate

       

Official Form 106Dec Declaration About an Individual Debtor's Schedules
Case 18-50241 Doc19_ Filed 05/17/18

Fill in this inform ation to identify your case:

Debtor 1 . i Tun Creo dul

Middls Name Last Name

Debtor 2
(Spouse, if filing) First Name Middte Name Last Name

 

United States Bankruptcy Court for the: Middle District of North Carolina

Case number ( S- Sou uy \

(If known)

 

 

 

Official Form 107

Page 40 of 74

47 Check if this is an

Statement of Financial Affairs for Individuals Filing for Bankruptcy

amended filing

04/16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Ca Give Details About Your Marital Status and Where You Lived Before

 

4. What is your current marital status?
C) Married

LarKiot married

2. During the last 3 years, have you lived anywhere other than where you live now?

CL) No

QL] Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor1 Debtor 2:
lived there

C) same as Debtor 1

 

 

 

 

 

 

 

State ZIP Code

 

 

 

 

 

From

Number Street Number Street
To

City State ZiP Code City

C) same as Debtor 1

From

Number Street Number Street
To

City State ZIP Code City

State ZIP Code

Dates Debtor 2
lived there

CL) Same as Debtor 1

From
To

C) same as Debtor 1

From

To

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
States and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

LiNo
Q) Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Ez Explain the Sources of Your Income

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 1
  

Debtor 1

Case number (known),

Case 18-50241 Doc1i9 Filed 05/17/18 Page 41 of 74

[($-D2LHFl

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

iio

LJ Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31, )

YYYY

For the calendar year before that:

(January 1 to December 31, )
YYYY

Sources of income
Check all that apply.

L) Wages, commissions,

bonuses, tips
OQ Operating a business

O Wages, commissions,
bonuses, tips

QO Operating a business

C) Wages, commissions,
bonuses, tips

Q Operating a business

Gross income

(before deductions and
exclusions)

$

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Sources of income
Check all that apply.

Q Wages, commissions,
bonuses, tips

Q) Operating a business

Q Wages, commissions,
bonuses, tips

QO Operating a business

Q Wages, commissions,
bonuses, tips

Q Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

(No

C2 Yes. Fill in the details.

 

|
Gross Income

(before deductions and
exclusions)

 

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31, )
YYYY

For the calendar year before that:

(January 1 to December 31, )

Sources of income
Describe below.

Ben
ee

Gross income from
each source

(before deductions and
exclusions)

Sources of income
Describe below.

 

 

 

 

 

YYYY

 

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Gross Income from
each source

(bafore deductions and
ex¢lusions)

 

 

page 2
Debtor 1

FirstName 9

Midi

Case 18-50241 Doc1i9 Filed 05/17/18 Page 42 of 74

Name Last Name

Ea List Certain Payments You Made Before You Filed for Bankruptcy

Case number (ft known) lS- Sore {

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425" or more?

CJ No. Go to tine 7.

CJ Yes. List below each creditor to whom you paid a total of $6,425” or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

CJ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

No. Go to line 7.

LJ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Creditor’s Name

Dates of Total amount paid Amount you still owe
payment

 

Number

Street

 

 

City

State ZIP Cade

 

Creditors Name

 

Number

Street

 

 

City

State ZIP Code

 

Creditors Name

 

Number

Street

 

 

City

State ZIP Code

Was this payment for...

t

C) Mortgage

QQ car

Q) credit car

CJ) Loan repayment

OQ Suppliers or vendors
CD other

Ll] Mortgage

Q) car

(I) credit card

C} Loan repayment

] Suppliers or vendors

Q] other

LI Mortgage

C) car

CQ), credit card

Cj Loan repayment

C) Suppliers or vendors

CY other

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3
First Name

Last Nai

"4

Debtor 1 iA ) UAWdE t/

Case 18-50241 Doc1i9 Filed 05/17/18 Page 43 of 74

Case number (f known) [¥- gd Ze }

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

No

C) Yes. List all payments to an insider.

Insider's Name

Dates of
payment

 

Number Street

 

 

City

State ZIP Cade

 

Insider's Name

 

Number Street

 

 

City

State ZIP Cade

Total amount Amount you still Reason for this payment
paid owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

Include payments on debts guaranteed or cosigned by an insider.

LeNo

CI Yes. List all payments that benefited an insider.

Dates of
payment

 

insiders Name

 

Number Street

 

 

City

State ZIP Code

 

Insiders Name

 

Number Street

 

 

City

Official Form 107

State ZIP Code

Total amount Amount you still Reason for this payment

paid owe Include creditor's name _

i
{

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
ge
Debtor 1 nan!

Case 18-50241 Doc19 Filed 05/17/18 Page 44 of 74

hones Tork

FirstName # Midge Name Last Name

| Part 4:| identify Legal Actions, Repossessions, and Foreclosures

Case number known)

[G- SOc

 

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including persona! injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

and contract disputes.

Bf No

L] Yes. Fill in the details.

Case title

Nature of the case

 

Case number

Case title

 

Case number

Court or agency

Status of the case

 

 

 

 

 

Court Name O Pending
L) On appeal

“Number Street C) concluded

City State ZIP Code

Court Name O Pending
C2 on appeal

Number Street C] concluded

 

City State ZIP Coda

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

No. Go to line 11.

(J Yes. Fill in the information below.

Describe the property

 

Creditors Name

 

Number = Street

Explain what happened

OQ)

 

O
Q)

 

City

State ZIP Code L)

Describe the property

 

Creditor's Name

 

Number Street

Explain what happened

 

 

City

Official Form 107

State ZIP Code

Oooo

Date

Property was repossessed.

Property was foreclosed.

Property was garnished.

Property was attached, seized, or levied.

Date

Property was repossessed.

Property was foreclosed.

Property was garnished.

Property was attached, seized, or levied.

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Value of the property

Value of the property

page §
Case 18-50241 Doc 19 ci iled 05/17/18 Page 45 of 74

Debtor 1 liad 1 P (fl Yoo dali v~ Case number (if known) IS- Wu Y

First Name wae ime Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

(No

C) Yes. Fill in the details.

1
Describe the action the creditor took Date action | Amount

 

 

 

 

 

was taken
Creditors Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXxX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

{i No
QC) Yes

| Part 5: List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

WNo

(J Yes. Fill in the details for each gift.

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number = Street
City State ZIP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person / the gifts
$
Person to Whom You Gave the Gift
$.

 

 

 

|
Number Street
City State ZIP Cade |

I

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
Case 18-50241 Doci19 Filed 05/17/18 Page 46 of 74

< “ . 2
Debtor 1 (J Juner G codtJt nw Case number (if known) [¥- SCe- ¢ \

First Name T Middle Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

2 No

LJ Yes. Fill in the details for each gift or contribution.

 

Gifts or contributions to charities Describe what you contributed . Date you : Value
that total more than $600 contributed
$.
Charity’s Name
$

 

 

Number Street

 

City State ZIP Code

ao List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

CiNo

CI Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred . an . loss lost

Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

ZINo

Q) Yes. Fill in the details.
|

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid svn ns os cttw made
Number Street $
$

 

City State ZIP Code

 

Email or website address : :

 

Person Who Made the Payment, if Not You

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
Case 18-50241 Doci9 Filed 05/17/18 Page 47 of 74

Debtor 4 Vrea Jen: v ct babi Case number ti known) [§ ° SOTY]

 

 

 

 

 

 

First Name t Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment
Person Who Was Paid
$
Number Street
$

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

No

CQ) Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street TT $
$

 

 

City State ZIP Code

18, Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

No
CQ) Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

 

Person Whe Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8
Case 18-50241 Doci9 Filed 05/17/18 Page 48 of 74

. A”
Debtor 1 Vir Jane Gookuin Case number Grknown) lSs- SS 2+ |

First Name Middle Name Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

CNo

(2 Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

No
C) Yes. Fill in the details.

Last 4 digits of account number Type of account or Date accountwas | Last balance before

 

instrument closed, sold, moved, : closing or transfer
or transferred i
Name of Financial Institution
XXXX=__ CQ) checking _ $
Number Street QO Savings

 

Cd Money market

 

Cl Brokerage

 

 

 

City State ZIP Code O Other
XXXX-__ C) Checking _— $
Name of Financial Institution
QO Savings
Number Street L) Money market

L) Brokerage
CI other.

 

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
mw cash, or other valuables?
No

O) Yes. Fill in the details.

 

 

Who else had access to it? Describe the contents | Do you stil!
__ have it?
‘OO No
Name of Financial Institution Name ! OQ Yes

 

 

Number Street Number Street

 

 

City State ZIP Code

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 
, Case 18-50241 Doc19 Filed 05/17/18 Page 49 of 74

e .
Debtor 1 ral June Geo dui Case number (known) ($= sve qd |

First Name q Middle Name Last Name

 

22. Haye you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
ZI no
C) Yes. Fill in the detaits.

 

 

Who else has or had access to it? Describe the contents Do you stilt
have It?
CO No
Name of Storage Facility Name Q Yes
Number Street Number Street

 

City State ZIP Code

 

City State ZIP Code

} Part: | Identify Property You Hoid or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
No
C) Yes. Fill in the details.

Where Is the property? Describe the property Value

 

Owner's Name $

 

Number Street

 

Number Street

 

 

 

 

City State ZIP Code
City State ZIP Code

ce Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

 

« Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

m= Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

m Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentiatly liable under or in violation of an environmental law?

Avo

C2 Yes. Fill in the details.

 

 

 

 

Governmental unit Environmental law, If you know it \ Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
Case 18-50241 Doc19 Filed 05/17/18 Page 50 of 74

-_

Debtor 1 {he Jun [fe Geo dun ”~ Case number ( known)

First Name a Middle Name Last Name

 

 

25. Have you notified any governmental unit of any release of hazardous material?

gr
Yes. Fill in the details.

 

 

 

 

City State ZIP Code

Governmental unit Environmental! law, if you know it Date of notice
{
Name of site Governmental unit
| Number Street Number Street
City State ZIP Code
|

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

 

 

 

 

 

No
CJ Yes. Fill in the details.
Court or agency Nature of the case | Status of the
Case title
Court Name QO Pending
QL on appeal
Number Street Q Concluded
Case number City State ZIP Code

Se Give Detalis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
Q Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
CJ A member of a limited liability company (LLC) or limited liability partnership (LLP)
CI A partner in a partnership
(J An officer, director, or managing executive of a corporation

oA An owner of at jeast 5% of the voting or equity securities of a corporation
N

 

o. None of the above applies. Go to Part 12.
C] Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

 

Business Name

’ EIN: -

 

 

 

Number Street oe “
Name of accountant or bookkeeper Dates business existed |
From To
City State ZIP Code vo - a vas ws :
Describe the nature of the business Employer Identification number

 

Business Name Do not Include Social Security number or ITIN.

 

 

BIN; — ew — — —____
Number Street
Name of accountant or bookkeeper Dates business existed
From To

 

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
Case 18-50241 Doci9 Filed 05/17/18 Page 51 of 74

Debtor 1 coe Juan Goodus in Case number cit known) (S- So u 4(

First Name Middte Name Last Name

Employer Identification number

Describe the nature of the business :
Do not include Social Security number or ITIN.

 

Business Name

 

 

EIN; oe
Number Street +
Name of accountant or bookkeeper Dates business existed
From To

 

City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

laKo

Cl Yes. Fill in the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

ng Junire Coon! x

Signature A Debtor 1 Signature of Debtor 2

vate MAY 17, Z018 bate

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Farm 107}?

rT No |
QC] Yes

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
CFNo

C) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature ome Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
Case 18-50241 Doci19 Filed 05/17/18 Page 52 of 74

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

 

 

This notice is for you if:

* You are an individual filing for bankruptcy,
and

# Your debts are primarily consumer debts.
Consumer debis are defined in 11 U.S.C.
§ 101(8) as “incurred by an individual
primarily for a personal, family, or
household purpose.”

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are
available to individuals

Individuals who meet the qualifications may file
under one of four different chapters of the
Bankruptcy Code:

m Chapter 7 — Liquidation
m= Chapter 11— Reorganization

m™ Chapter 12— Voluntary repayment plan
for family farmers or
fishermen

@ Chapter 13— Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

$245 filing fee

$75 administrative fee

+ $15 __ trustee surcharge
$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their
debts and who are willing to allow their non-
exempt property to be used to pay their
creditors. The primary purpose of filing under
chapter 7 is to have your debts discharged. The
bankruptcy discharge relieves you after
bankruptcy from having to pay many of your
pre-bankruptcy debts. Exceptions exist for
particular debts, and liens on property may still
be enforced after discharge. For example, a
creditor may have the right to foreclose a home
mortgage or repossess an automobile.

However, if the court finds that you have
committed certain kinds of improper conduct
described in the Bankruptcy Code, the court
may deny your discharge.

You should know that even if you file

chapter 7 and you receive a discharge, some
debts are not discharged under the law.
Therefore, you may still be responsible to pay:

B@ most taxes;
m= =most student loans;

s domestic support and property settlement
obligations;

Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 1:
Case 18-50241 Doc 19

= most fines, penalties, forfeitures, and
criminal restitution obligations; and

certain debts that are not listed in your
bankruptcy papers.

You may also be required to pay debts arising
from:

w= fraud or theft;

w= fraud or defalcation while acting in breach
of fiduciary capacity;

a intentional injuries that you inflicted; and

= death or personal injury caused by
operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or
drugs.

If your debts are primarily consumer debts, the
court can dismiss your chapter 7 case if it finds
that you have enough income to repay
creditors a certain amount. You must file
Chapter 7 Statement of Your Current Monthly
Income (Official Form 122A—1) if you are an
individual filing for bankruptcy under

chapter 7. This form will determine your
current monthly income and compare whether
your income is more than the median income
that applies in your state.

If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means
Test Calculation (Official Form 122A-2).

If your income is above the median for your
state, you must file a second form —the
Chapter 7 Means Test Calculation (Official
Form 122A-2). The calculations on the form—
sometimes called the Means Test—deduct
from your income living expenses and
payments on certain debts to determine any
amount available to pay unsecured creditors. If

Filed 05/17/18 Page 53 of 74

your income is more than the median income
for your state of residence and family size,
depending on the results of the Means Test, the
US. trustee, bankruptcy administrator, or
creditors can file a motion to dismiss your case
under § 707(b) of the Bankruptcy Code. Ifa
motion is filed, the court will decide if your
case should be dismissed. To avoid dismissal,
you may choose to proceed under another
chapter of the Bankruptcy Code.

If you are an individual filing for chapter 7
bankruptcy, the trustee may sell your property
to pay your debts, subject to your right to
exempt the property or a portion of the
proceeds from the sale of the property. The
property, and the proceeds from property that
your bankruptcy trustee sells or liquidates that
you are entitled to, is called exempt property.
Exemptions may enable you to keep your
home, a car, clothing, and household items or
to receive some of the proceeds if the property
is sold.

Exemptions are not automatic. To exempt
property, you must list it on Schedule C: The
Property You Claim as Exempt (Official Form
106C). If you do not list the property, the
trustee may sell it and pay all of the proceeds
to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee
$1,717 total fee

Chapter 11 is often used for reorganizing a
business, but is also available to individuals.
The provisions of chapter 11 are too
complicated to summarize briefly.

Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 2 ;
Case 18-50241 Doci19 Filed 05/17/18 Page 54 of 74

Read These Important Warnings

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $75 administrative fee
$275 total fee

Similar to chapter 13, chapter 12 permits
family farmers and fishermen to repay their
debts over a period of time using future
earnings and to discharge some debts that are
not paid,

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
$310 total fee

Chapter 13 is for individuals who have regular
income and would like to pay all or part of
their debts in installments over a period of time
and to discharge some debts that are not paid.
You are eligible for chapter 13 only if your
debts are not more than certain dollar amounts
set forth in 11 U.S.C. § 109.

Under chapter 13, you must file with the court
a plan to repay your creditors all or part of the
money that you owe them, usually using your
future earnings. If the court approves your
plan, the court will allow you to repay your
debts, as adjusted by the plan, within 3 years or
5 years, depending on your income and other
factors.

After you make all the payments under your -
plan, many of your debts are discharged. The
debts that are not discharged and that you may
still be responsible to pay include:

m domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting
in a fiduciary capacity,

™ most criminal fines and restitution
obligations,

= certain debts that are not listed in your
bankruptcy papers,

m™ certain debts for acts that caused death or
personal injury, and

= certain long-term secured debts.

Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 3
Case 18-50241 Doc 19

 

 

Warning: File Your Forms on Time

Section 521(a}(1) of the Bankruptcy Code
requires that you promptly file detailed information
about your creditors, assets, liabilities, income,
expenses and general financial condition. The
court may dismiss your bankruptcy case if you do
not file this information within the deadlines set by
the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

For more information about the documents and
their deadlines, go to:

http: /Avww.uscourts.gov/bkforms/bankruptcy form
s.htmi#procedure.

 

 

Bankruptcy crimes have serious
consequences

m If you knowingly and fraudulently conceal
assets or make a false oath or statement
under penalty of perjury—either orally or
in writing—in connection with a
bankruptcy case, you may be fined,
imprisoned, or both.

= All information you supply in connection
with a bankruptcy case is subject to
examination by the Attorney General acting
through the Office of the U.S. Trustee, the
Office of the U.S. Attorney, and other
offices and employees of the U.S.
Department of Justice.

Make sure the court has your
mailing address

The bankruptcy court sends notices to the
mailing address you list on Voluntary Petition
for Individuals Filing for Bankruptcy (Official
Form 101). To ensure that you receive
information about your case, Bankruptcy

Rule 4002 requires that you notify the court of
any changes in your address.

Filed 05/17/18 Page 55 of 74

A married couple may file a bankruptcy case
together—called a joint case. If you file a joint
case and each spouse lists the same mailing
address on the bankruptcy petition, the
bankruptcy court generally will mail you and
your spouse one copy of each notice, unless
you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you
could receive from credit
counseling agencies

The law generally requires that you receive a
credit counseling briefing from an approved
credit counseling agency. 1] U.S.C. § 109(h).
If you are filing a joint case, both spouses must
receive the briefing. With limited exceptions,
you must receive it within the 180 days before
you file your bankruptcy petition. This briefing
is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you
generally must complete a financial
management instructional course before you
can receive a discharge. If you are filing a joint
case, both spouses must complete the course.

You can obtain the list of agencies approved to
provide both the briefing and the instructional
course from:

http://justice.gov/ust/eo/hapcpa/ecde/cc_approved.html.

In Alabama and North Carolina, go to:
http://jwww.uscourts.gov/FederalCourts/Bankruptcy/
BankruptcyResources/ApprovedCredit
AndDebtCounselors.aspx.

If you do not have access to a computer, the
clerk of the bankruptcy court may be able to
help you obtain the list.

Notice Required by #1 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 4
Case 18-50241 Doci19 Filed 05/17/18 Page 56 of 74

United States Bankruptcy Court
Middle District of North Carolina

a +
In re: v un, ow bY Case No. L§- 502¢)
Debtor(s) Chapter /. 3

VERIFICATION OF CREDITOR MATRIX

The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their
knowledge.

Date: Lpef ¢ J 2o/ i; ea) fone a

Signature of Debtor

Date:

 

Signature of Joint Debtor
Case 18-50241 Doci19 Filed 05/17/18 Page 57 of 74

Fill in this information to identify your case:

Check as directed in lines 17 and 21:

 

 

 

 

 

“ . According to the calculations required by

Debtor 4 iv JUN Geo dun this Statement:
First Nama) Middle Name Last Name
Debtor 2 C] 1. Disposable income is not determined
(Spouse, if filing) First Name Middle Name Last Name under 11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the: Middle District of North Carolina Lr. Disposable income is determined
under 11 U.S.C. § 1325(b}(3).

Case number I%- 7) G AN , ae
(If known) C] 3. The commitment period is 3 years.

C] 4. The commitment period is 5 years.

 

 

 

(Beheck if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period 42115

_Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. !f
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if Known).

| part 1: | Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
CF Not married. Fill out Column A, lines 2-11.

C] Married. Fill out both Columns A and B, lines 2-11.

 

 

i
Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file th
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fillin
the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
payroll deductions). $ $
3. Alimony and maintenance payments. Do not include payments from a spouse, $__@f _ $

4. All amounts from any source which are regularly paid for household expenses of
you or your dependents, including child support. Include regular contributions from
an unmarried partner, members of your household, your dependents, parents, and
roommates. Do not include payments from a spouse. Do not include payments you

listed on line 3. $ & S$

5. Net income from operating a business, profession, or Debtor 4 Debtor 2

 

 

farm

Gross receipts (before all deductions) $_C> §

Ordinary and necessary operating expenses -$@ -3

: : . Copy
Net monthly income from a business, profession, or farm 5 QD $ here> sO $
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $ oO $

Ordinary and necessary operating expenses -$ © -$

Net monthly income from rental or other real property $ © $ _ Kone $ 2 $

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 1

 
V/, a Case 18-50241 Dow
Debtor 1 ire) Juniwr adult

First Name V Middle Name Last Name

Filed 05/17/18 Page 58 of 74

Case number (known) [ Ge Sead \

 

7. Interest, dividends, and royalties

3. Unemployment compensation

the Social Security Act. Instead, list it here: eee

FOP YOU. ccc ccccccceesceccececeeesneeeeaeeenenetessenseessnseasnenanenecaeets

FOr YOUr SPOUSE oo ec cece cece ceeeneeeeteteteneeeneneaeaes

benefit under the Social Security Act.

total below.

9. Pension or retirement income. Do not include any amount received that was a

Do not enter the amount if you contend that the amount received was a benefit under

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the

 

 

Total amounts from separate pages, if any.

column. Then add the total for Column A to the total for Column B.

13. Calculate the marital adjustment. Check one:
CAyYou are not married. Fill in 0 below.

C] You are married and your spouse is filing with you. Fill in 0 below.
Cj You are married and your spouse is not filing with you.

you or your dependents.

list additional adjustments on a separate page.

If this adjustment does not apply, enter 0 below.

11. Calculate your total average monthly income. Add lines 2 through 10 for each

Column A Column B
Debtor 1 Debtor 2 or
non-filing spousd
$ © $
s_ © $
s__© §
oO
$ $
5 © 5
+3 ) +s

 

 

 

 

 

OES]

 

 

 

 

 

| Part 2: | Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from liM@ 11. occ cscs cssescesesesesseacsuesssessesssesvaseassnssssesesaseaussssesusssscecsasaeeseseass

 

Multiply line 15a by 12 (the number of months in a year).

 

TOA ce cecececeeesevevesevessesestecstecsesessseaseesseasesitatasitesstecsnsavsvevsneesetetes

14. Your current monthly income. Subtract the total in line 13 from fine 12.

Total average
monthly income

Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than

Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,

 

 

— 06%

 

Copy here =>

 

15. Calculate your current monthly income for the year. Follow these steps:

15a, Copy line 14 here SPs esscsecsevenesssnmessssvessseversevsvestssussssvesssssessesuverserserssrssssuensassntsesavesssssestasseerarenseesimesssunsteaveressneeassavette

15b. The result is your current monthly income for the year for this part of the FOrM. 0... cccssesssessenesesssneneeceseseseenecessstssenesesneasenens

 

\s

¢ LE Ze i

 

 

 

 

| s GIG 92
x 12

sf LOMLA

 

 

 

 

 

Official Form 122C-1

Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period

page 2

 
ie) “niet. (neo Dec 19 Filed 05/17/18 Page 59 of 74
Debtor 1 l¢' — roe Gee dui Case number (if kriown) IX * S74 (

~
First Name 9 Middle Name Last Name

 

16. Calculate the median family income that applies to you. Follow these steps:

16a. Fillin the state in which you live. N) Cc

16b. Fill in the number of people in your household.

16c. Fill in the median family income for your state and size of HOUSENOIG. occ cee teneeceereresereneereseesenstresssscerssanerentensee $

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

17a. C] Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
17.U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Ca/culation of Your Disposable Income (Official Form 122C-2).

17b. C] Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-—2).
On line 39 of that form, copy your current monthly income from line 14 above.

| Part 3 Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from liMe 11. o.oo... cccccccccccsescsssssssssssssesesssecassssceestsesesisesssssessssverssseceersssesrtuceesuesessuaeeseuneeesutestes s OES. £7

19. Deduct the marital adjustment if it applies. !f you are married, your spouse is not filing with you, and you contend that
calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
the amount from line 13.
19a. If the marital adjustment does not apply, fill in O On Jie 198. oo... ee eee ecee cence sees eee cae eee caeeeeeeceeaeeeceeeeteiseeseneceeseseeeeenes $ OQ

19b. Subtract line 19a from fine 18. $ Fook 8 7

20. Calculate your current monthly income for the year. Follow these steps:

20a. Copy line 19D. ..ecccccccscccssssecsssesevssserssscsesssseersvaneensnsaseessaneessnaneuvansnssansanvansneuavsnensuesenisssesieqanseseanensenssnssentnsnsonevasseeiinsesernsee $ TA P5972

Multiply by 12 (the number of months in a year). x 12

 

 

 

 

 

20b. The result is your current monthly income for the year for this part of the form. $ CF Gl of

 

 

 

20c. Copy the median family income for your state and size of household from line 166. 2.20... ccc cee eetcec eee eeteneeseeeeeeeereterenes

 

 

 

21. How do the lines compare?

Cl Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
The commitment period is 3 years. Go to Part 4.

CJ Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
check box 4, The commitment period is 6 years. Go to Part 4.

By eat penalty of perjury | declare that the information on this statement and in any attachments is true and correct.

x | Temeer / w x

Signature of Debtor 1 Signature of Debtor 2

Date aa! [ 7 f 20/9 Date :
MM/ Da /¥ MM/ DD /YYYY |

If you checked 17a, do NOT fill out or file Form 1220-2.
If you checked 175, fill out Form 122C-2 and file it with this form. On tine 39 of that form, copy your current monthly income from line 14 above.

 

 

 

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3

 
Case 18-50241 Doci9 Filed 05/17/18 Page 60 of 74

Fill in this information to identify your case:

Debtor 1 woh jun. Goodin

 

First Namer] Middle Name Last Name
Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of North Carolina

Case number ( xX- So TY

(lf known)

C] Check if this is an amended filing

 

Official Form 122C-2 .
Chapter 13 Calculation of Your Disposable Income 04/16

 

 

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 1220-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).

Pare ts Calculate Your Deductions from Your Income

The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts '
to answer the questions in lines 6-15, To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk’s office.

some of your actual expenses if they are higher than the standards. Do not include any operating expenses that you
subtracted from income in lines 5 and 6 of Form 122C—1, and do not deduct any amounts that you subtracted from your

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use |
spouse's income in line 13 of Form 122C~—1. ‘

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

5. The number of people used in determining your deductions from income
Fill in the number of people who could be claimed as exemptions on your federal income tax
return, plus the number of any additional dependents whom you support. This number may ]
be different from the number of people in your household.

 

 

 

 

 

National : . a
Standards You must use the IRS National Standards to answer the questions in lines 6-7. |
: :
6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
Standards, fill in the dollar amount for food, clothing, and other items. s_ L¢ Zee i

7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National :
Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two :
categories—people who are under 65 and people who are 65 or older—because older people have a higher IRS
allowance for health care costs. If your actual expenses are higher than this IRS amount, you may deduct the
additional amount on line 22.

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 1
Case 18-50241 Doci19 Filed 05/17/18 Page 61 of 74

 
      

 

 

 

 

 

 

 

 

 

 

Debtor 1 hind Goodutw Case number (i known) [F. soe \
First Name Kddle Nama. Last Name
|
People who are under 65 years of age

i

7a. Qut-of-pocket health care allowance per person $ S2: ee :

7b. Number of people who are under 65 x i |

c

7c. Subtotal. Multiply line 7a by line 7b. 5 520¢ > 8 Sued

here i

People who are 65 years of age or older

7d, Out-of-pocket health care allowance per person $ oO

7e. Number of people who are 65 or older x ©

Copy :

7f. Subtotal. Multiply line 7d by line 7e. 5. © here> + $ © :

7g. Total. Add lines 76 And Tf. ......cccccccsssssscsssssesenvssesscesastsesevesssssisunvsseetsinnusssesinenveseeieesevne ig 212° copyhere>.....  $ Sze00 :
Local You must use the IRS Local Standards to answer the questions in lines 8-15
Standards ,

_ Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:
@ Housing and utilities - Insurance and operating expenses
@ Housing and utilities - Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill L115, oe?
in the dollar amount listed for your county for insurance and operating expenses. $ £

9. Housing and utilities - Mortgage or rent expenses:

ga. Using the number of people you entered in line 5, fill in the dollar amount SHS: eo
listed for your county for mortgage or rent expenses. S_fff on

9b. Total average monthly payment for all mortgages and other debts secured by
your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file
for bankruptcy. Next divide by 60.

 

 

 

Name of the creditor Average monthly
payment |
pin, Cooper s_ ¥ 91. b0
Cove ftay ¢ 22-37

 

Secur) ty Fingace +5 29>

: Copy : Repeat this amount ;
8b. Total average monthly payment s_ 55/35, here> 79 1-3 on line 33a. ‘

9c. Net mortgage or rent expense.

Subtract line 9b (tota/ average monthly payment) from line 9a (mortgage or $ 5 2 $. 67 Copy here> ....... sod S07

rent expense). \f this number is less than $0, enter $0.

 

 

 

 

10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects - $
the calculation of your monthly expenses, fill in any additional amount you claim.
Explain

 

why:

 

 

 

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 2
Vir Case 18-20241 Deci9 Filed 05/17/18 Page 62 of 74
Debtor 1 iv Jurnee ‘OO dus 4 y* Case number (known) [ ¥- Se 2 ¢ {

First Name J Middla Name Last Name

 

 

 

11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

LJ] 0. Goto line 14.
CJ 1. Go to line 12.
ae 2 or more. Go to line 12.

12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. $

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
addition, you may not claim the expense for more than two vehicles.

Vehicle 1 Describe Vehicle 1: 2.060 USSAre LAE me

 

13a. Ownership or leasing costs using IRS Local Standard... cccceceeeeeeeees 5 ZZG ee

13b. Average monthly payment for all debts secured by Vehicle 1.
Do not include costs for leased vehicles.
To calculate the average monthly payment here and on line 13e,

add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptcy. Then divide

 

 

by 60.
Name of each creditor for Vehicle 1 Average monthly
payment
Coen may ¢__ 2237
+ $

 

on line 33b.

 

 

 

Copy _ 2a Repeat this amount
Total average monthly payment $ 22. 37 here=> ¢ 2237

13c. Net Vehicle 1 ownership or lease expense | Copy net Vehicle
— g§ LORbS Tn 3 2OS-6S

Subtract line 13b from line 13a. If this number is less than $0, enter $0. ............ : 1 expense here™>

Vehicle 2 Describe Vehicle 2: 200 oO Batck So Sth rn

 

 

13d. Ownership or leasing costs using IRS Local Standard ......0..... eee $ 2Le ow

13e. Average monthly payment for all debts secured by Vehicle 2.
Do not include costs for leased vehicles.

 

Name of each creditor for Vehicle 2 Average monthly
t payment
Securily Eingnree 5 27-9G
+ $

 

 

 

on line 33c.

 

Copy Repeat this amount |
Total average monthly payment 5 279¢ here> $ zZ TIL |

 

 

 

5 LION Tee (GLOF |

13f. Net Vehicle 2 ownership or lease expense

Subtract line 13e from 13d. If this number is less than $0, enter $0............0...... i > i

14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public oO '
Transportation expense allowance regardless of whether you use public transportation, $ :

18. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also oO
deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim $ i

f

more than the IRS Local Standard for Public Transportation.

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 3
~ Case 18-50241 Doci19 Filed 05/17/18 Page 63 of 74

 

 

Debtor 1 lA Yr to Geedun Case number (if known).
Firs?Name { Middle Name Last Name
Other Necessary In addition to the expense deductions listed above, you are allowed your monthly expenses for the
Expenses following IRS categories. :

16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes,
self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected
refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.

Do not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
union dues, and uniform costs.

Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
together, include payments that you make for your spouse’s term life insurance.

Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of
life insurance other than term.

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments.

Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

20. Education: The total monthly amount that you pay for education that is either required:
@ as a condition for your job, or
@ for your physically or mentally challenged dependent child if no public education is available for similar services.

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
Do not include payments for any elementary or secondary school education.

22, Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
savings account. Include only the amount that is more than the total entered in line 7.

Payments for health insurance or health savings accounts should be listed only in line 25.

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services
for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
income, if it is not reimbursed by your employer.

Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Form 122C-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances.
Add lines 6 through 23.

Additional Expense These are additional deductions allowed by the Means Test.
Deductions Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
your dependents.

Health insurance $ ©

Disability insurance $
Health savings account + § €&>

ee o at
Total | S__ "| Copy total here Dooce ccccccecccccccccsscssesessssvessvevssssvsvsesssrerat

Do you actually spend this total amount?

0. How much do you actually spend?

CL] Yes $_____

26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
your household or member of your immediate family who is unable to pay for such expenses. These expenses may
inciude contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

By law, the court must keep the nature of these expenses confidential.

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income

 

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page 4
/' Case 18-50241 Doci19, Filed 05/17/18 Page 64 of 74
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Debtor 4

 

 

First Name Middle Name Last Name

28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,

then fill in the excess amount of home energy costs.

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
claimed is reasonable and necessary.

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more
than $160.42" per child) that you pay for your dependent children who are younger than 18 years old to attend a
private or public elementary or secondary school.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount
claimed is reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
than 5% of the food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, go online using the link specified in the separate
instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

You must show that the additional amount claimed is reasonable and necessary.

31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).

Do not include any amount more than 15% of your gross monthly income.

32. Add all of the additional expense deductions.
Add lines 25 through 31.

Deductions for Debt Payment

33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
loans, and other secured debt, fill in lines 33a through 33e.

To calculate the total average monthly payment, add all amounts that are contractually due
to each secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

Average monthly
payment

Mortgages on your home
33a. Copy line 9b Were... ccscccsessssseesesssrsssscesssesucssscsssssssesscsueseanesssesveveessavscssraseressenees »> s_ 4&pex

Loans on your first two vehicles

33b. Copy tine 13b Aer. cece ccececesecesesceesesveseseueseevacevsvavevecaeseseetetevasenssaeses > $

33c. Copy line 13@ NEE. oo. cccccccsseecsevesssseeessveseeneesssnssvesesersvaenssessavsegneaseecsneersevees > $

33d. List other secured debts:

Name of each creditor for other Identify property that Does
secured debt secures the debt payment
include taxes

or Insurance?

Mi. Cooper’ Mortar bane s ¢blee

 

 

 

 

 

 

 

es
(oar firey faute bane 5 2us7
Secuvt fy Linanee Mele bn +3_ 279¢
33e. Total average monthly payment. Add lines 33a through 33d. o.oo: a! 22 5 eS
Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income

for A Jone ou Geo dun? Case number (if known) [ ¥ = Soe!

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page 5
- Case 18-50241 Doci19 Filed 05/17/18 Page 65 of 74
Debtor 1 VW Jun (ov Gen des~ Case number «rknown) l x 7 SOc |

First Name (} Middle Name Last Name

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary
for your support or the support of your dependents?

C] No. Go to line 35.

[-TYes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 

 

 

 

Name of the creditor Identify property that Total cure Monthly cure amount
secures the debt amount
ov. .
th Cooye é Yh yt s_ 6784 +60= s_4/2.438
$ +60= $
§ +60= +5
Copy :
Total $ total $
here>

 

 

 

35. Do you owe any priority claims—such as a priority tax, child support, or alimony— that are past due as of
the filing date of your bankruptcy case? 11 U.S.C. § 507.
[_] No. Go to line 36.

[=HYes. Fill in the total amount of all of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in line 19.

Total amount of all past-due priority Claims. 0.0.0 ccc ccsececesetesesseesresersetsseesneeees $ SO + 60 $ /3. F3

36. Projected monthly Chapter 13 plan payment $ _

Current multiplier for your district as stated on the list issued by the Administrative
Office of the United States Courts (for districts in Alabama and North Carolina) or by
the Executive Office for United States Trustees (for all other districts). Ee

To find a list of district multipliers that includes your district, go online using the link
specified in the separate instructions for this form. This list may also be available at the
bankruptcy clerk’s office.

Copy i
Average monthly administrative expense $ G55. 6 G total $ 65569 :

here=>

 

 

 

 

 

37. Add all of the deductions for debt payment. Add lines 33e through 36. $ E5567

 

 

 

Total Deductions from Income

38. Add all of the allowed deductions.

 

 

Copy line 24, All of the expenses allowed under IRS expense allowances ............0.cccceees $_¢ s 220

Copy line 32, All of the additional expense CEGUCHONS 00.0... ceceeccs ets tsteetetetnesecntatseneaee $ 4

Copy line 37, All of the deductions for debt payment 0.00 ccccccecserte tse ccnrresectenteeatcenerens +$ 55:67
- Ye Copy [7

Total CEdUctions 2... ccc ccc eceseeeseeneeestesesteneseecsnssnenescsesesieusicaessctesseeisinencrecreissentveaeansateesessssntasaes | $_. SSE SSO { total sIOVS6F
| here >

 

 

 

 

 

 

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 6
ase 18- leo Doc 19 Filed 05/17/18 Page 66 of 74
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Debtor 1

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First Name Middle Name Last Name

Sra setemtine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

 

39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
Statement of Your Current Monthly Income and Calculation of Commitment Period. 0.0.0.0. cee eestetcsteenetieanenenensees

. 40. Fill in any reasonably necessary income you receive for support for dependent
children. The monthly average of any child support payments, foster care payments, or
disability payments for a dependent child, reported in Part 1 of Form 122C-1, that you $ ©
received in accordance with applicable nonbankruptcy law to the extent reasonably
necessary to be expended for such child.

41. Fillin all qualified retirement deductions. The monthly total of all amounts that your
: employer withheld from wages as contributions for qualified retirement plans, as $ @
specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement

plans, as specified in 11 U.S.C. § 362(b)(19).

42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ............ 3 $5

_ 43. Deduction for special circumstances. If special circumstances justify additional

: expenses and you have no reasonable alternative, describe the special circumstances
and their expenses. You must give your case trustee a detailed explanation of the
special circumstances and documentation for the expenses.

 

 

 

 

 

 

 

Describe the special circumstances Amount of expense
$
$.
+$
Copy here
Total $__._ |> +s
44. Total adjustments. Add lines 40 through 43.0 ce escneeeneriestecesrescesnetesrentecnesesnentaseeansaes ' $____ ‘copy here >

45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.
;

aa Change in Income or Expenses

46. Change in income or expenses, If the income in Form 122C-1 or the expenses you reported in this form have changed
or are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be
open, fill in the information below. For example, if the wages reported increased after you filed your petition, check
122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill in when the increase
occurred, and fill in the amount of the increase.

 

 

 

 

Form Line Reason for change Date of change Increase or Amount of change
decrease?
L] 122C—-1 LJ Increase $
CI 422C—2 |_| Decrease
C] 1220-1 __l increase $
C 422C—2 |_| Decrease
C 122C0—1 L__] Increase $
‘- 122C—2 __j Decrease
Lo 1220-1 |__| Increase $
LJ 122C—2 |__] Decrease

 

 

 

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income

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page 7
Vira t 18-0241 Doc19 Filed 05/17/18 Page 67 of 74
ie |

Ju nie Goods tv yw Case number (i known) / S- o FOTY \

First Name ga Name Last Name

_ By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.

x te? Jonsin Morales %

Signature of De Signature of Debtor 2

ote MAY UTZ ¥ Oe TOD TY

Debtor 1

 

 

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income

page 8
Case 18-50241 Doci19 Filed 05/17/18 Page 68 of 74

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF NORTH CAROLINA

In re: Viva! Junior Goo desu

Case No. [S- 5Ory|
257 Elegne’ Ace

 

(address)

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) Chapter 13
tet, Mire ALC# 27032 )

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)

(city, state, zip)

SS# XXX-XX- | | $6

SS# xxx-xx-

Debtor(s)

NOTICE TO CREDITORS AND PROPOSED PLAN

The Debtor(s) filed for relief under Chapter 13 of the United States Bankruptcy Code on

 

The filing automatically stays collection and other actions against the Debtor, Debtor’s
property and certain co-debtors. If you attempt to collect a debt or take other action in
violation of the bankruptcy stay you may be penalized.

Official notice will be sent to creditors, which will provide the name and address of the
Trustee, the date and time of the meeting of creditors, and the deadline for objecting to the
plan. The official notice will include information regarding the filing of proofs of claims.

A creditor must timely file a proof of claim with the Court in order to receive distributions _
under the plan. The Trustee will mail payments to the address provided on the proof of
claim unless the creditor provides another address in writing for payments. If the claim is
subsequently assigned or transferred, the Trustee will continue to remit payment to the
original creditor until a formal notice of assignment or transfer is filed with the Court.

CHAPTER 13 PLAN SUMMARY
Case 18-50241 Doci19 Filed 05/17/18 Page 69 of 74

The Debtor proposes an initial plan, which is subject to modification, as follows:
I. Plan Payments

The plan proposes a payment of $ } 55 ? GF per month for a period of
@O_ months. The Debtor shall commence payments to the Trustee within thirty
(30) days from the date the petition was filed.

IL. Administrative Costs

1. Attorney fees.
/_/ The Attorney for the Debtor will be paid the base fee of $3,500.00.
The Attorney has received § from the Debtor pre-
petition and the remainder of the base fee will be paid monthly by
the Trustee as funds are available, after scheduled monthly
payments to holders of domestic support obligations and allowed
secured claims.

/_/ The Attorney for the Debtor will file application for approval of a
fee in lieu of the presumptive fee.

2. Trustee costs. The Trustee will receive from all disbursements such amount as

approved by the Court for payment of fees and expenses.

iI. ‘Priority Claims

All pre-petition claims entitled to priority under 11 U.S.C. §507 will be paid in full in
deferred cash payments unless otherwise indicated.

1, Domestic Support Obligations (“DSO”)

a. /_/ None

b. The name, address, and phone number, including area code, of the holder
of any DSO as defined in §101(14A) is as follows:

Name of DSO Claimant Address, city & state Zip code Telephone ber

 
Case 18-50241 Doci19 Filed 05/17/18 Page 70 of 74

V. Co-Debtor Claims

The Debtor proposes to separately classify for payment in full the following claims for
consumer debts on which an individual is liable with the Debtor:

 

 

 

 

 

Creditor Co-Debtor Interest}; Monthly
Rate Payment
% | $
% | $
% |$

 

 

 

 

 

VI. General Unsecured Claims Not Separately Classified

General unsecured claims will be paid on a pro-rata basis, with payments to commence
after priority unsecured claims are paid in full. The estimated dividend to general
unsecured claims is %.

VU. Executory Contracts/Leases

a. /_/ None

b. The following executory contracts and/or leases will be rejected:

Creditor Nature of lease or contract

 

c. The following executory contract and/or leases will be assumed. The
Debtor will pay directly all lease payments which come due from the
petition filing date until confirmation of the plan. Upon confirmation,
payments will be paid as follows:

 

Creditor Nature of Lease or Contract Monthly | Monthly Arrearage | Arrearage Arrearage

payment payment Amount paid by monthly
paid by Debtor payment
Debtor (D) or
(D) or Trustee
Trustee {T)

(7)

 

 

 

 

 

 

 

 

 

 

 

 

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4 | 164 169
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Case 18-50241 Doci19 Filed 05/17/18 Page 71 of 74

Personal Property Secured Claims

/_/ None

Claims secured by personal property will be paid

by the Trustee as

 

 

 

 

 

 

follows:
Creditor Collateral Secured | Purchase Under-secured | Pre- Post- Proposed
Amount Money Amount confirmation | confirmation | Interest
Y/N adequate Equal Rate
protection Monthly
payment per | Amount
§1326(a)(1) | (EMA)
$ $ $ $ %
$ $ $ $ %
$ $ $ $ ”
$ $ $ $ %

 

 

 

 

 

 

 

 

Creditor

Lien Creditor

The Trustee will disburse pre-confirmation adequate protection payments to secured
creditors holding allowed purchase money secured claims. Claims having a collateral
value of less than $2,000.00 will not receive adequate protection payments.

To the extent that the valuation provisions of 11 U.S.C. § 506 do not apply to any of the
claims listed above, the creditor’s failure to object to confirmation of the proposed plan
shall constitute the creditor’s acceptance of the treatment of its claim as proposed,
pursuant to 11 U.S.C. § 1325(a)(5)(A).

3. Collateral to be Released

The Debtor proposes to release the following collateral:

Collateral to be Released

 

4, Liens to be Avoided

The Debtor pursuant to 11 U.S.C. §522 proposes to avoid the following liens on property
to the extent that such liens impair the Debtor’s exemption:

Pro

 

 
Case 18-50241 Doci19 Filed 05/17/18 Page 72 of 74

c. All post-petition DSO amounts will be paid directly by the Debtor to the
holder of the claim and not by the Trustee.

d. Arrearages owed to DSO claimants under 11 U.S.C. §507(a)(1)(A) not
presently paid through wage garnishment will be paid by the Trustee as

follows:

Name of DSO Claimant

Estimated Arre

e Claim

Monthly Payment

$

$

 

2. Other priority claims to be paid by Trustee

 

 

 

 

 

 

Creditor Estimated Priority Claim
Security Finaree $  /O@lOre2
LRS' $ /ZOo-ce

 

 

IV. Secured Claims

1. Real Property Secured Claims

a. /_/ None

b. All payments on any claim secured by real property will be paid by the
Trustee unless the account is current, in which case the Debtor may elect
to continue making mortgage payments directly. Arrearage claims will be
paid by the Trustee as separate secured claims over the term of the plan,

without interest.

 

 

 

 

 

 

 

 

 

 

 

 

Creditor Property Address Residence | Current | Monthly | Arrearage If Current
or Non- @2N Payment | Amount Indicate
Residence Payment by
R/NR’ Debtor (D) or
Trustee (T)
My, Cooper 2¢7 Clean put KR saBt. [3s 6734
$ $
$ $
$ $

 

 
Case 18-50241 Doci9 Filed 05/17/18 Page 73 of 74

VIII. Special Provisions

a. /__/ None

b. Other classes of unsecured claims and treatment

 

Cc. Other Special Terms

 

 

as
Date: finy C7. LOLS eed Hebm
Attorney for Debtor

Address:

 

 

Telephone

 

State Bar No:

 
Case 18-50241 Doc19 Filed 05/17/18 Page 74 of 74

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF NORTH CAROLINA

In re: Virg) Junior Grodu” Case No. ] §-Sozy |

 

 

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)

)
SS# xxx-xx-__] | SH ) NOTICE TO CREDITORS
SS# xxx-xx- ) AND

) PROPOSED PLAN

)

Debtor(s)

CERTIFICATE OF SERVICE

 

The undersigned certifies that a copy of the Notice to Creditors and Proposed Plan was served by first
class mail, postage prepaid, to the following parties at their respective addresses:

O py Cooper
69 SO CY pres >
L/4ad evs le
Dalles TK TSO9

S) L oA lAa xX
“3006 [> AA ape ST
toanuclle KE: 2S!

ae
6) security, Fingperel
t , st
Llyfe WW CCL LIC, 5703 O

Fit ai

Date: pay (7, 2A VY E Mee nw
